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                   EXHIBIT A
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7

8
                   SUPE RIOR COURT OF THE STATE OF CALI FORNIA
9
                                    COUNTY OF LOS ANGELES
10

11
       ABRAHAM MOHAMED, individually and               Case No.
12     on behalf of all others similarly situated,
                                                       CLASS ACTION COMPLAINT
13                 Plaintiffs,
14
                                                       1. FALSE AND MISLEADING
                   v.                                     ADVERTISING IN VIOLATION OF
15                                                        BUSINESS AND PROFESSIONS CODE
       THE HERSHEY COMPANY, doing                         § 17200, et seq.
16     business as BUBBLE YUM, and DOES 1              2. FALSE AND MISLEADING
17
       through 10, inclusive,                             ADVERTISING IN VIOLATION OF
                                                          BUSINESS AND PROFESSIONS CODE
18                 Defendant.                             § 17500, et seq.
                                                       3. VIOLATION OF CALIFORNIA CIVIL
19                                                        CODE § 1750, et seq. (Consumers Legal
20
                                                          Remedies Act)

21                                                     DEMAND FOR JURY TRIAL
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1            Plaintiff Abraham Mohamed (hereinafter “Plaintiff”), individually and on behalf of
2     himself and others similarly situated (hereinafter “the Class” or “Class Members”), alleges the
3     following:
4                    I.      NATURE OF THE ACTION AND STATEMENT OF FACTS
5            1.      This is an important consumer protection matter that concerns three issues: i)
6     violations of California Health & Safety Code §§ 108945, 108946 and § 109000 for selling and
7     distributing in commerce in the State of California products produced, marketed and sold by
8     The Hershey Company (“Defendant”) under the brand name “BUBBLE YUM” and
9     specifically, its Bubble Yum Original Flavor Bubble Gum, due to, among other things, the
10    amount of organic fluorine in the Bubble Yum Original Flavor Bubble Gum Product and its
11    wrapper; ii) the omission and non-disclosure of information that is a material concern for
12    consumers—the existence of, and potential health risks from, organic fluorine in the Bubble
13    Yum Original Flavor Bubble Gum Product; and iii) false and misleading marketing of the
14    Hershey family of brands as being “high[] quality,” “sustainable” and “transparent about [their]
15    ingredients” given the existence of, and potential health risks from, organic fluorine in the
16    Bubble Yum Original Flavor Bubble Gum.
17           2.      Defendant is a manufacturer, distributor, and marketer of a variety of
18    confectionary products.
19           3.      The product at issue is Defendant’s Bubble Yum Original Flavor Bubble Gum
20    (hereinafter individually referred to as “Product”, plurally referred to as “Products”).
21           4.      The Products that were manufactured, marketed, advertised and sold by
22    Defendant over the proposed class period and are currently being manufactured, marketed,
23    advertised and sold by Defendant, and the Product purchased by Plaintiff and tested by Plaintiff

24    as set forth herein, were and are substantially similar. The Products are the same “Original”

25    flavor, all have the same essential design with variances in the number of gum pieces in each

26    package, and all are made from the same ingredients and manufacturing process.

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1            5.          Defendant offers the Products for sale through various channels, including third-
2      party retail outlets and internet websites such as Target, Walmart, Ralph’s, Walgreens and
3      Amazon.
4            6.          As set forth below, through an extensive, widespread, comprehensive, and
5      uniform nationwide marketing campaign, including creating marketing materials pertaining to
6      the Product for third-party sellers, Defendant promoted itself and the Product as being high
7      quality, sustainable and transparent about ingredients.
8            A. Defendant’s False, Misleading And Deceptive Marketing Of The Product.
9            7.          During the Class Period defined herein, from four (4) years prior to the date of
10     the filing of the complaint, Defendant promoted, and continues to promote, the Hershey family
11     of brands and the Products through the following false, misleading and deceptive statements on
12     Hershey’s and BUBBLE YUMS’s brand website pages. Images of the website pages and the
13     statements and terminology that are false, misleading and or add to the deception are identified
14     in bold, as set forth below:
15
                    i.
16

17
           HERSHEY.                   ABOUT US    BRANDS   INGREDIENTS   SUSTAINABILITY   INNOVATION   NEWSROOM   Q.
18

19

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21

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26
            Rooted in Our Values: Togetherness, Integrity, Making a Difference, Excellence
27           https://www.thehersheycompany.com/en_us/home/about-us.html
28

                                                            3
                                                 CLASS ACTION COMPLAINT
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1                   ii.

2
                                                                Doing Well by Doing Good
3

4
                       Shared Goodness
5                          Promise
                   The Shared Goodness Prom ise is an idea
6
                                                                                                                                     ◄
                    as simple as it is big: our business, our
                    planet, our communities. our children-
                    they've always mattered. Jt's a promise
7                   delivered by all of us at Hershey-to see
                   every day as a chance to be successful in
                        a way that makes a difference.
8
                                 Lea rn More

9

10

11
            Shared Goodness: Promise
12          An idea as simple as it is big: our business, our planet, our communities, our
             children—they’ve always mattered.
13
             https://www.thehersheycompany.com/en_us/home/sustainability.html
14
                   iii.
15

16             Sustainability
17             Hershey's Shared Goodness Promise is our holistic sustainability strategy that guides how we support and
               engage the remarkable people behind our brands, from farmers to employees. This strategy guides how we
               make more moments of goodness by delivering on our commitments to safeguard the health of the
18             environment, support children and youth and build prosperous communities within our supply chain.



19            View Our 2022 ESG Report


20

21          Sustainability
22          Delivering on our commitments to safeguard the health of the environment,
             support children and youth and build prosperous communities within our supply
23           chain.
             https://www.thehersheycompany.com/en_us/home/sustainability.html
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                                                                CLASS ACTION COMPLAINT
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1                          iv.

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3
                    HERSHEY.:                                ABOUT US         BRANDS        INGREDIENTS          SUSTAINABILITY         INNOVATION   NEWSROOM   ~




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10                    We at Hershey have always said that doing good by the Earth is not only doing the right thing - Ifs good
                      business. That statement is as true today as it was when MIiton Hershey first said, "There's not a person alive
                      who should not plant a tree. Not for the shade that you'll enjoy, but for those coming after.~

11                    Future generations at Hershey and beyond will continue to rely on agricultural commodities grown in healthy
                      soil, rich biodiversity to keep pollinators busy all season tong, abundant high-quality water to keep
                      manufacturing our products and clean alr to keep employees, communities and consumers within our supply
12                    chain healthy and safe.


                      Climate change, water scarcity, natural resource depletion and biodiversity degradation all pose Increasing

13                    threats to our planet, communities and individuals around the world. As we face environmental challenges, we
                      see opportunities for collective action by governments, businesses, NGOs and multilateral organizations, and




             ..
                      we are committed to doing our part to create positive change for a brighter future.

14                    Read Our 2022 ESG Report



15
            Doing good by the Earth is not only doing the right thing – it’s good business.
16
             https://www.thehersheycompany.com/en_us/home/sustainability/sustainability-focus-
17           areas/environment.html

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                                                               CLASS ACTION COMPLAINT
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1                 v.

2                                                                                                                                           CAREERS   MEDIA
                                                                                                                                                              "
3              HERSHEY.                                 ABOUT US        BRANDS         INGREDIENTS         SUSTAINABILITY           INNOVATION    NEWSROOM




4                Advancing Sustainable Packaging Solutions
                 In order to reduce the potential negative impacts of plastic waste and waste sent to landfills, we are eliminating
5                unnecessary packaging and converting to eco-friendly alternatives to create a more sustainable future. In 2015,
                 we committed to reducing packaging weight by 25 million pounds by 2025. We're proud to say we've surpassed

6                this goal and have set a new goal of reducing an additional 25 million pounds by 2030. We're also aiming to
                 make 100 percent of our plastic packaging recyclable, reusable or compostable by 2030.


7
                 Ending Deforestation
8                We are committed to ending deforestation across our supply chain by 2030 by working within our individual
                 commodity supply chains to drive sustainable practices across our supply chain. Our No Deforestation Policy
                 commitment is a key part of Hershey's efforts to meet our Scope 3 commitment. Read more about this
9                commodity-specific approach to ending deforestation in our Cocoa Forest Initiative Report.


10               Protecting Biodiversity
                 Hershey recognizes that biodiversity plays a critical role in business success and in safeguarding the health of
11               our planet and communities. We have deeply embedded biodiversity within our environmental policies,
                 including our Environmental Policy and No Deforestation Policy. Through ongoing interactions with farmers

12               and other suppliers, we invest in and work toward protecting the ecologically important ecosystems where our
                 cocoa is sourced and where our palm oil is produced.


13               Protecting Water Sources
14               As a global snacking company, water is critical to our business and interconnected to our climate action
                 strategy. In 2020, we joined the Science Based Targets Network's (SBTN) Corporate Engagement Program to
                 stay aligned with emerging best practices in water stewardship. In 2021, we launched a preliminary assessment
15               to better understand our water footprint and gather insights on contextual water challenges across our
                 business. Through continued participation in SBTN's self-guided pilot, we've continued to take important steps
                 to integrate water quality and quantity awareness across our supply chain. We will continue to report on our
16               progress in our annual sustainability report and on our website.


17

18
            Advancing Sustainable Packaging Solutions
19          https://www.thehersheycompany.com/en_us/home/sustainability/sustainability-focus-
             areas/environment.html
20

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                                                          CLASS ACTION COMPLAINT
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1                    vi.

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8             We are committed to . . . being transparent about the ingredients inside your favorite
               Hershey products.
9
               https://www.thehersheycompany.com/en_us/home/ingredients/about-our-
10             ingredients.html

11                  vii.
12

13
             Increased Transparency through SmartLabel®
             We are committed to transparency and support consumers' right to know what is in their food . We want
14           consumers to be able to quickly access information about our products whether they are at home or on the go.
             By partnering with other companies, we helped develop an industry-wide technology for U.S. products called
15           Smartlabel®. By scanning the QR Code on our U.S. product packages, you can access Smartlabel® which
             puts more detailed information than could ever fit on a package right at your fingertips . In addition to nutrition
16
             and ingredients you can find ingredient definitions, allergen information, claims information, religious
             certifications, and bioengineered food disclosure statements (bioengineered food is often referred to as
17
             "GMOs"). We encourage consumers to use Smartlabel® to get all the information they want to know about
18           their food purchases when they want to know it.


19            We are committed to transparency and support consumer’s right to know what
               is in their food.
20             https://www.thehersheycompany.com/en_us/home/ingredients/about-our-
21
               ingredients.html

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1                    viii.
2

3        WE HOLD OURSELVES TO THE HIGHEST QUALITY, SAFETY AND
                      SUSTAINABILITY STANDARDS .



4
              Responsibly Sourced
5                 Ingredients
                                                                                Cocoa                         Palm
6
                      Vi ew All Pr1or1ty Ingredient s


7
                                                  The Hershey Company does not conduct, fund or contribute to animal testing .

8

9             Highest quality, safety and sustainability standards
               https://www.thehersheycompany.com/en_us/home/ingredients/about-our-
10             ingredients.html
11
                        ix.
12
                                     BUBBLE YUM Frequently Asked Questions
13
                                 Is BUBBLE YUM Gum sugar free ?


14                               No, one piece of BUBB LE YUM Bubble Gum has about 5 grams of sugar



                                 When was BUBBLE YUM Bubble Gum first produced?
15                               As the first soft bubble gum marketed in the U.S., BUBBLE YU M Bubble Gum was first produced in 1973 by
                                 Life Savers. Since 2000, The Hershey Company has been producing BUBBLE YUM Gum.

16
                                 Where is BUBBLE YUM Gum made?

17                               BUBBLE YU M Bubble Gum is manufactu red by The Hershey Company in Mexico.



18                               Is original BUBBLE YUM Bubble Gum flavor gluten free?

                                 BUBBLE YUM Bubble Gum does not contain any gluten ingredients. Always refer to each package for
                                 current ingredients and allergen statements to make an informed decision about Hershey products. Explore
19                               other gluten free Hershey products.



20

21            Always refer to each package for current ingredients and allergen statement to make
               an informed decision about Hershey products.
22             https://www.hersheyland.com/bubbleyum
23             8.             Through Defendant’s marketing and advertising campaign, Defendant was able
24    to sell the Products to thousands of consumers throughout California and the rest of the United
25    States. The Products are sold individually for prices ranging from $1.69 to $1.99 per product.

26             9.             Plaintiff read, believed, and relied upon Defendant’s marketing and advertising

27    of the Hershey family of brands and the Products set forth in paragraph 7 (i-ix) herein as “our

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1    planet, our communities, our children – they’ve always mattered”, “Delivering on our
2    commitments to safeguard the health of the environment”, “Doing good by the Earth is not
3    only doing the right thing – it’s good business”, “We are committed to . . . being transparent
4    about the ingredients in your favorite Hershey products”, “We are committed to transparency
5    and support consumer’s right to know what is in their food”, “Highest quality, safety and
6    sustainability standards” and “Always refer to each package for current ingredients and
7    allergen statement to make an informed decision about Hershey products” (hereafter
8    collectively referred to as “the Misrepresentations”) when purchasing the Products.
9           10.       Plaintiff reasonably understood the net impression of the Misrepresentations to
10   mean that the Products are high quality, sustainable and transparent about their ingredients.
11          11.       Currently, there is significant public health concern about the materials and
12   chemicals used in the food industry.1
13          12.       In addition, consumers today are increasingly conscious of brands' efforts to
14   make a positive difference in the world. 2 Sustainable marketing is the promotion of
15   environmentally and socially responsible products, practices, and brand values. 3 4
16   Incorporating social responsibility into brands’ public relations strategies can make a
17   profound impact on consumer decisions.
18          13.       Thus, there is a continuous incentive for a company such as Defendant’s to
19   market itself as being high quality, sustainable and transparent about the ingredients in its
20   food products.
21

22

23   1
       https://www.cnn.com/2024/09/16/health/food-packaging-chemical-toxins-study-
24
     wellness/index.html
     2
       See https://www.linkedin.com/pulse/5-key-elements-successful-wellness-brand-pr-strategy-
25   examples
     3
       https://www.smartinsights.com/online-brand-strategy/brand-positioning/sustainable-marketing-
26   how-should-you-use-it/
     4
27
       https://abmatic.ai/blog/sustainable-marketing-strategies-building-brands-with-environmental-
     responsibility#:~:text=Sustainable%20marketing%20focuses%20on%20integrating,customers%
28   20who%20value%20environmental%20stewardship.

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1           B. The Existence Of Chemicals In the Product That Implicate Health And Safety
2                 Concerns That A Reasonable Consumer Would Find Material.
3           14.      The Products at issue contain, among other things, organic fluorine, which
4    places consumers at risk of exposure to perfluoroalkyl and polyfluoroalkyl substances
5    (“PFAS”).
6           15.      According to the U.S. Centers for Disease Control and Prevention (CDC),
7    PFAS are a group of over 9,000 synthetic chemicals that have been used in industry and
8    consumer products, worldwide, for over 70 years. 5
9           16.      The California legislature has found and declared the following: “PFAS,” are
10   highly toxic and highly persistent in the environment. See Cal Health & Safety Code §
11   108981(a).
12          17.      The California legislature has found and declared the following: PFAS are
13   referred to as “forever chemicals” because they are extremely resistant to degradation in the
14   natural environment, including the water, the soil, the air, and our bodies, because of their
15   carbon-fluorine bond, one of the strongest bonds known in nature. See Cal Health & Safety
16   Code § 108981(b).
17          18.      The California legislature has found and declared the following: PFAS have
18   been linked by scientific, peer- reviewed research to severe health problems, including breast
19   and other cancers, hormone disruption, kidney and liver damage, thyroid disease,
20   developmental harm, and immune system disruption, including interference with vaccines. See
21   Cal Health & Safety Code § 108981(c).
22          19.      The CDC outlines several health effects associated with PFAS exposure,
23   including cancer, liver damage, decreased fertility, increased risk of asthma and thyroid

24   disease.6

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      https://www.cdc.gov/niosh/topics/pfas/default.html
     6
      https://www.atsdr.cdc.gov/pfas/health-effects/index.html ; see also
28   https://www.hsph.harvard.edu/news/hsph-in-the-news/pfas-health-risks-

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1           20.     Other studies have associated exposure to PFAS with increased pregnancy
2    losses, disruption in sex hormone homeo-statis and sexual maturation. 7
3           21.     Because of the widespread use of PFAS, they can be found in water, air,
4    animals, and soil at locations across the nation and the globe. Due to this widespread use, the
5    CDC’s National Health and Nutrition Examination Survey (NHANES) found PFAS in the
6    blood of 97 percent of Americans, suggesting virtually ubiquitous exposure of Californians to
7    these highly toxic chemicals. Widespread use has also resulted in broad PFAS dispersal in
8    indoor and outdoor environments, including the PFAS contamination of the drinking water of
9    approximately 16 million Californians, particularly in disadvantaged communities, of breast
10   milk, and of indoor and outdoor air. See Cal Health & Safety Code § 108981(e).
11          22.     On October 5, 2021, California Gov. Gavin Newsom signed into law California
12   Assembly Bill 652(AB 652) , Cal Health & Safety Code §§ 108945 – 108947 (Added by Stats
13   2021 ch 500 § 1 (AB 652) and Assembly Bill 1200 (AB 1200), 109000 – 109014, (added by
14   Stats. 2021, Ch. 503, § 1 (AB 1200), effective January 1, 2022), which provides for the
15   Prohibition of sales or distribution of Juvenile Products and Food Packaging containing
16   “regulated” PFAS chemicals.
17          23.     Under California Health & Safety Code § 108945(c) “Juvenile product” means
18   a product designed for use by infants and children under 12 years of age
19          24.     Under California Health & Safety Code § 108945(b) “Regulated perfluoroalkyl
20   and polyfluoroalkyl substances” or “regulated PFAS” that pertains to Juvenile Products means
21   either of the following:
22                  (1)     PFAS that a manufacturer has intentionally added to a product and that
23                          have a functional or technical effect in the product, including, but not

24                          limited to, the PFAS components of intentionally added chemicals that

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27
     underestimated/#:~:text=A%20recent%20review%20from%20the,of%20asthma%20and%20thyr
     oid%20disease
     7
28     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2679623/

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1                           are intentional breakdown products of an added chemical that also have
2                           a functional or technical effect in the product.
3                   (2)     The presence of PFAS in a product or product component at or above
4                           100 parts per million, as measured in total organic fluorine.
5           25.     Under California Health & Safe Code § 109000 (a)(1) “Food Packaging” means
6    a nondurable package, packaging component, or food service ware that is intended to contain,
7    serve, store, handle, protect, or market food, foodstuffs, or beverages, and is comprised, in
8    substantial part, of paper, paperboard, or other materials originally derived from plant fibers
9    and includes unit product boxes, liners, and wrappers.
10          26.     Under California Health & Safety Code § 109000(a)(3) “Regulated
11   perfluoroalkyl and polyfluoroalkyl substances” or “regulated PFAS” that pertains to Food
12   Packaging means either of the following:
13                  (1)     PFAS that a manufacturer has intentionally added to a product and that
14                          have a functional or technical effect in the product, including, but not
15                          limited to, the PFAS components of intentionally added chemicals that
16                          are intentional breakdown products of an added chemical that also have
17                          a functional or technical effect in the product.
18                  (2)     The presence of PFAS in a product or product component at or above
19                          100 parts per million, as measured in total organic fluorine.
20          27.     As set forth herein, under the California Health & Safety Code, the presence of
21   PFAS in food packaging and juvenile products is measured in organic fluorine. See Cal. Health
22   & Safety Code §§ 109000(a)(3)(B) and 108945(b)(2).
23          28.     Leading science has also directed that identification of organic fluorine in

24   industry and consumer products is an indicator that encompasses the total content of both known

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1    and unknown types of PFAS, unlike traditional targeted analyses that can reliably quantify only a
2    few dozen known PFAS that have commercially available analytical standards.” 8
3            29.       Plaintiff commissioned independent third-party testing to determine whether the
4    Product and its packaging contain organic fluorine.
5            30.       The testing conducted by the laboratory was conducted in accordance with
6    accepted industry standards for detecting the presence of organic fluorine.
7            31.       The testing was performed at the independent analytical contract laboratory’s
8    facilities.
9            32.       Plaintiff conducted two rounds of testing. The first round was conducted on the
10   same Product Plaintiff purchased and near in time to Plaintiff’s purchase. Specifically, Plaintiff
11   was a frequent shopper of the Product and purchased the Products at various CVS and
12   Walgreens locations in Los Angeles County multiple times a year for the last five years. The
13   product tested, the part tested, the test date and the test result are set forth below:
14

15
                      Product Tested: Bubble Yum Original Flavor Bubble Gum
                       Test Date: February 20, 2024
16                     Result: Wrapper 130 PPM Organic Fluorine
                       Result: Gum 197 PPM Organic Fluorine
17

18           33.       The first round of test results found organic fluorine present in the Product and
19   packaging tested, which was the same Product and packaging as that purchased by Plaintiff, in
20   amounts which exceeded the permissible manufacturing limits set forth in Cal. Health & Safety
21   Code §§ 108945(b)(2) and 109000(a)(3)(B).
22

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26   8
      Anna S. Young, Heidi M. Pickard, Elsie M. Sunderland, and Joseph G. Allen; “Organic
27
     Fluorine as an Indicator of Per- and Polyfluoroalkyl Substances in Dust from Buildings with
     Healthier versus Conventional Materials” Environmental Science & Technology. November 4,
28   2022.

                                                     13
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1             34.       The second round of testing commissioned by Plaintiff was performed on an
2    additional sample of the same Product and packaging as that purchased by Plaintiff. The
3    product tested, the parts tested, the test dates and test results are set forth below:
4

5                      Product Tested: Bubble Yum Original Flavor Bubble Gum
                        Test Date: March 5, 2024
6                       Result: Wrapper 122 PPM Organic Fluorine
                        Result: Gum 75.19 PPM Organic Fluorine
7

8             35.       The second round of test results also found organic fluorine present in the Product
9    tested, which was the same Product as that purchased by Plaintiff, in amounts which exceeded
10   the permissible manufacturing limits set forth in Cal. Health & Safety Code § 109000(a)(3)(B).
11            C. Defendant’s Omission And Non-Disclosure Of The Existence Of Chemicals In
12                  The Products Implicates Health And Safety Concerns That A Reasonable
13                  Consumer Would Find Material.
14            36.       While the California Health & Safety Code permits certain levels of organic
15   fluorine in certain products as of January 1, 2023, the omission and non-disclosure of
16   information that is a material concern for consumers is different than compliance under the
17   California Health & Safety Code, which only concerns production and distribution, not otherwise
18   lawful disclosures or warnings. Therefore, required disclosures and warnings are an issue not
19   addressed or covered by the Health & Safety Code. Indeed, Governor Gavin Newsom’s veto
20   message in vetoing a “disclosure” bill for products containing PFAS (Assembly Bill No. 2247)
21   makes clear disclosure requirements are a separate issue.9
22            37.       Because PFAS chemicals are “forever chemicals” and accumulate in the human
23   body and environment, there is no safe manner or level of exposure to humans. The Products
24   are particularly concerning given the fact bubble gum is marketed to and consumed by
25   children.
26

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     9
28       www.gov.ca.gov/wp-content/uploads/2022/09/AB-2247-VETO.pdf?emrc=cc359d

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1           38.     Therefore, both rounds of testing indicate dangerous levels of organic fluorine
2    that implicate health and safety concerns set forth herein.
3           39.     Therefore, the existence of organic fluorine in the Products thus implicates health
4    and safety concerns that a reasonable consumer would find material and therefore, Defendant has
5    a duty to disclose the existence of organic fluorine in the Products and omitted facts it was
6    obliged to disclose.
7           40.     The Product’s marketing and advertising, including the website pages, product
8    labels and packaging, were and are uniform and pervasive over the proposed class period.
9           41.     The marketing of the Product, including the Product’s website pages, product
10   labels and packaging as set forth herein, and in the photographs below, omit and do not provide
11   any disclosure of the existence of, and potential health risks from, organic fluorine in the
12   Product:
13   Front of Packaging
14

15

16

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21
     Back of Packaging
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                                                   15
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1           Top of Packaging                Bottom of Packaging
2

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16          42.     The marketing and labeling of the Products, as set forth herein, including the
17   Product’s website pages, packaging and labels, should and could have revealed and disclosed the
18   existence of, and potential health risks from, organic fluorine in the Products and could and
19   should have provided a disclosure that states, at a minimum, “Caution: This product contains
20   organic fluorine which is a known indicator of per and polyfluoroalkyl substance (“PFAS”).
21   Exposure to PFAS may cause serious health effects.”
22          43.     Plaintiff and other consumers were not and are not provided adequate information
23   or warning of the existence of, and health risks from, organic fluorine in the Products from the
24   Products’ information panel provided by Defendant.
25          44.     Defendant’s omission and non-disclosure of the existence of, and health risks
26   from, organic fluorine in the Products is unlawful for the following reasons:
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1                 a.      It is contrary to representations made by Defendant. The existence of
2          organic fluorine in the Product directly contradicts Defendant’s marketing, as set forth
3          above, and especially representations that the Hershey family of brands and the Product
4          are high quality, sustainable, and transparent about their ingredients.
5                 b.      It is an omission of a fact Defendant was obliged to disclose, on the
6          following basis:
7                          i.     Defendant had exclusive knowledge of material facts not known
8          or reasonably accessible to Plaintiff. Defendant has exclusive knowledge of the
9          manufacturing process and composition of materials and chemicals in the Product as
10         Defendant is the manufacturer, distributor, and marketer of the Product. At the time of
11         purchase, Plaintiff lacked the knowledge of the manufacturing process and composition
12         of materials and chemicals in the Product and lacked the expertise to ascertain the
13         existence of organic fluorine in the Product and their risks to human health. Further,
14         consumers lacked and continue to lack the knowledge of the manufacturing process and
15         composition of materials and chemicals in the Product and the expertise to ascertain the
16         existence of organic fluorine in the Product and their risks to human health. Plaintiff and
17         reasonable consumers must, and do, rely on Defendant to disclose the materials,
18         chemicals, and ingredients in the Product and advise of the risks that may potentially
19         affect the health and/or safety of consumers.
20                        ii.     Defendant made and continues to make partial representations
21         that are misleading because some other material fact has not been disclosed.
22         Defendant’s representations and images that the Hershey family of brands and the
23         Product are high quality, sustainable, and transparent about their ingredients are

24         misleading in light of the omission of the existence of organic fluorine in the Product.

25                       iii.     The undisclosed information of the existence of organic fluorine

26         in the Product implicates safety concerns that a reasonable consumer would find

27         material.

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1           D. Plaintiff’s And Consumers’ Reliance On Defendant’s Misrepresentations And
2                 Omissions And Resulting Harm.
3           45.      Plaintiff and other consumers read, believed, and relied upon Defendant’s
4    marketing and advertising and omissions set forth herein when purchasing the Products.
5    Plaintiff and other consumers reasonably understood the marketing and labeling and omission
6    of the existence of organic fluorine in the Products to mean that the products do not contain
7    suspected harmful chemicals.
8           46.      In reliance on Defendant’s labeling, marketing claims and omissions set forth
9    herein, Plaintiff and consumers purchased products they would not have purchased but for
10   Defendant’s false promotion of the Product as being high quality, sustainable and transparent
11   about their ingredients and their omission of information regarding the presence of organic
12   fluorine in the Product. Had Plaintiff and other consumers known the true nature of the Product
13   and had information regarding the presence of organic fluorine in the Product not been omitted
14   from marketing and labeling materials, they would not have purchased and spent money on the
15   Product.
16          47.      As such, Defendant has engaged in conduct which violates Business &
17   Professions Code § 17200, et seq., Business & Professions Code § 17500, et seq. and the
18   California Consumers Legal Remedies Act (“CLRA”) California Civil Code § 1750, et seq.,
19   particularly California Civil Code §§ 1770(a)(5) and 1770(a)(7).
20          E. Summary Of Notice Of Violations Of Law And Demand For Relief.
21          48.      On March 15, 2024, Defendant was served by Plaintiff with written notices
22   pursuant to Civil Code § 1750, et seq., which set forth Plaintiff’s contentions and requested
23   remedy. Plaintiff’s letter was sent via certified mail with electronic return receipt to Defendant

24   who acknowledged receipt. Defendant rejected Plaintiff’s attempts to address the concerns

25   stated herein and instead has allowed the Product to continue to be sold with full knowledge of

26   the alleged claims.

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1            49.     Wherefore, Plaintiff, the Class Members and other California consumers have,
2    among other things, no adequate remedy at law for the injuries that are currently being suffered
3    and that will be suffered in the future in that, unless and until enjoined by order of this Court,
4    the non-disclosure of material information that implicates health and safety concerns that a
5    reasonable consumer would find material will continue and cause great and irreparable injury to
6    Plaintiff, the Class Members and other California consumers.
7            50.     Therefore, Plaintiff brings this action challenging Defendant’s claims relating to
8    the Products on behalf of himself and all others similarly situated under Business & Professions
9    Code § 17200, et seq., and Business & Professions Code § 17500, et seq., and California’s
10   Consumers Legal Remedies Act, California Civil Code § 1750, et seq., particularly California
11   Civil Code §§ 1770(a)(5) and 1770(a)(7).
12           51.     Wherefore, Plaintiff seeks in equity an order compelling Defendant to
13   discontinue the conduct alleged herein as set forth further herein.
14           52.     Plaintiff further seeks an order compelling Defendant to restore the monetary
15   amounts by which Plaintiff and the Class did not receive the value of the Product(s) they paid
16   for and which Defendant has been unjustly enriched.
17           53.     Plaintiff further seeks actual and punitive damages, pre- and post-judgment
18   interest, attorneys’ fees, and costs.
19

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21                                               II.   THE PARTIES
22   A.      Defendant
23           54.     Defendant The Hershey Company, doing business as (“dba”) Bubble Yum, is a

24   Delaware corporation existing under the laws of the State of Delaware (“Defendant Hershey”).

25           55.     Defendant Hershey is the owner and distributor of the Product and is the company

26   that created and/or authorized the omissions and false, misleading, and deceptive advertisements

27   and packaging for the Product alleged herein.

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1           56.     Plaintiff is further informed and believes and based thereon alleges that DOES 1
2    through 10 were and/or are, in some manner or way, responsible for and liable to Plaintiff for the
3    events, happenings, and damages hereinafter set forth below. The true names and capacities,
4    whether individual, corporate, associate or otherwise of certain manufacturers, distributors,
5    and/or their alter egos sued herein as DOES 1 through 10 inclusive are presently unknown to
6    Plaintiff who therefore sue this Defendant by fictitious names. Plaintiff will seek leave of this
7    Court to amend the Complaint to show their true names and capacities when the same have been
8    ascertained. Plaintiff is informed and believes and based thereon alleges that DOES 1 through
9    10 were authorized to do and did business in Los Angeles, California.
10   B.     Plaintiff
11          57.     Plaintiff Abraham Mohamed (“Plaintiff”) is an individual residing in Los
12   Angeles County, California.
13          58.     Plaintiff purchased the Product that contained organic fluorine. Plaintiff was a
14   frequent shopper of the Product and has purchased Bubble Yum Original Flavor Bubble Gum
15   from various CVS and Walgreens locations in Los Angeles County multiple times a year for the
16   last five years. Plaintiff paid approximately $1.69 for the Product. The independent testing of
17   the Product conducted by Plaintiff was the same Product purchased by Plaintiff and near in time
18   to Plaintiff’s purchases. Therefore, the Product Plaintiff purchased contained organic fluorine.
19          59.     Plaintiff used the Product on a daily basis multiple times throughout the day and
20   was therefore exposed to organic fluorine at a heightened level.
21          60.     Prior to and at the time of each purchase, Plaintiff considered Defendant’s
22   marketing and omissions related to the Product, including those set out herein, including that the
23   Product and the Hershey family of brands maintain the “[highest] quality, safety and

24   sustainability standards.” Plaintiff reasonably relied on these misrepresentations and omissions

25   in deciding to purchase the Product, and he would not have purchased the Product if the true

26   facts had been known. As a direct result of Defendant’s material misrepresentations and

27   omissions, Plaintiff suffered and continues to suffer, economic injuries.

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1           61.          Plaintiff would like to purchase the Product in the future. Plaintiff understands
2    that the composition of the Product could change to remove all organic fluorine over time.
3    However, Plaintiff is unable to determine the composition of the Product before purchasing it
4    again and whether the Product contains suspected harmful chemicals, or if it continues to contain
5    organic fluorine. Plaintiff might purchase the Product in the future, despite the fact it was once
6    marred by false marketing and omissions of the existence of harmful chemicals in the Product, as
7    he may reasonably assume, incorrectly, that the composition of the Product was changed to
8    remove all organic fluorine. As long as Defendant continues to manufacture the Product with
9    organic fluorine but promote the Hershey family of brands and, by implication, the Product as
10   maintaining the “[h]ighest quality, safety and sustainability standards” and “support[ing] [a]
11   consumer’s right to know what’s in their food” and not disclose to Plaintiff and the public of the
12   existence of, and warn of the potential safety risks from, organic fluorine in the Product,
13   Plaintiff (and other consumers) will be unable to make informed decisions about whether to
14   purchase the Product and will be unable to evaluate the differences between the Product and
15   competitors’ products. Plaintiff is further likely to be repeatedly misled by Defendant’s conduct,
16   unless and until Defendant is enjoined from continuing to engage, use, or employ the practice of
17   falsely marketing and advertising for sale of the Product as follows:
18                  i.      An order compelling Defendant to test for the existence of organic
19                          fluorine in the Product and Product wrapper;
20                ii.       If unintentional organic fluorine is detected in the Product or Product
21                          wrapper, above 100 ppm, an order compelling defendant to replace the
22
                            organic fluorine with the least toxic alternative and reduce the organic
23
                            fluorine below 100 ppm;
24
                  iii.      If detectable levels of organic fluorine are in the Product, an order
25
                            compelling Defendant to cease marketing, labeling, packaging, and
26
                            advertising the Hershey family of brands and, by implication, the
27
                            Product as maintaining the “[h]ighest quality, safety and sustainability
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                           standards” and “support[ing] [a] consumer’s right to know what’s in
2
                           their food”; or
3
                  iv.      If detectable levels of organic fluorine are in the Product, an order
4
                           compelling Defendant to disclose to Plaintiff and the public of the
5
                           existence of, and warn of the potential safety risks from, organic
6
                           fluorine in the Product and Product Wrapper.
7
                                         III.     JURISDICTION AND VENUE
8
            62.         This Court has personal jurisdiction over Plaintiff because Plaintiff resides in Los
9
     Angeles County, California and submits to the Court’s jurisdiction.
10
            63.         Defendant Hershey directly and through its agents, has substantial contacts with
11
     and receives substantial benefits and income from sales of the Product from and through the
12
     State of California and Los Angeles County. Therefore, Defendant is subject to personal
13
     jurisdiction in California based upon sufficient minimum contacts which exist between it and
14
     Los Angeles County, California.
15
            64.         Venue is proper in this District pursuant to California Civil Code § 1780(d),
16
     because Defendant is doing business in Los Angeles County and Los Angeles County is where a
17
     substantial portion of the transaction that is the subject of the above-entitled action occurred.
18
                                       IV.      CLASS ACTION ALLEGATIONS
19
            65.         Plaintiff brings this class action on his own behalf and on behalf of all other
20
     persons similarly situated. The Class which Plaintiff seeks to represent comprises:
21
                        All persons who purchased the Product in the State of California
22
                        during the time period of four (4) years preceding the date of the filing
23
                        of this class action through the present.
24
            (Referred to herein as “the Class” or “Class Members”)
25
            66.         Said definition may be further defined or amended by additional pleadings,
26
     evidentiary hearings, a class certification hearing, and orders of this Court.
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1           67.         Numerosity: Although the exact number of Class Members is uncertain and can
2    only be ascertained through appropriate discovery, the number is great enough such that joinder
3    is impracticable.
4           68.         Adequacy: Plaintiff is an adequate representative of the Class because Plaintiff’s
5    interests are the same as the Class in that Plaintiff and the Class Members were subjected to the
6    same omissions and representations by Defendant as set forth herein; Plaintiff intends to
7    prosecute this action vigorously and completely on behalf of himself and the Class Members;
8    Plaintiff has retained competent counsel experienced in prosecuting class actions; and Plaintiff’s
9    interests do not conflict with the interests of the Members of the Class. Based thereon, the
10   interests of the Class Members will be fairly and adequately protected by Plaintiff and Plaintiff’s
11   counsel.
12          69.         Commonality and Predominance of Common Issues: Defendant has acted on
13   grounds common and applicable to the entire Class and therefore, numerous questions of law and
14   fact are common to Plaintiff and the Class Members that predominate over any question
15   affecting only individual Class Members thereby making relief appropriate with respect to the
16   Class as a whole. Common and predominate factual and legal issues include but are not limited
17   to:
18                 i.        The Product that was and is currently being manufactured, marketed,
19                           advertised and sold by Defendant over the proposed class period and the
20                           Product purchased and tested by Plaintiff, as set forth herein, have the
21                           same manufacturing process and composition of materials and chemicals
22                           and were marketed, advertised and sold by Defendant in the same place
23                           and manner.

24                ii.        The Product is labeled and packaged the same. Therefore, Plaintiff and

25                           the Class Members were exposed to the same labeling and packaging for

26                           the Product.

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1              iii.   Defendant’s marketing and representations about the Product and the
2                     Hershey family of brands to which Plaintiff and the Class were exposed
3                     were the same during the class period and therefore common to Plaintiff
4                     and the Class Members.
5              iv.    Defendant’s omissions and non-disclosures as to the Product to which
6                     Plaintiff and the Class Members were exposed were the same during the
7                     class period and therefore common to Plaintiff and the Class Members.
8               v.    Whether the Product and or its packing contain organic fluorine.
9              vi.    Whether the Product and or its packing contain organic fluorine at or
10                    above 100 ppm in violation of California’s Health & Safety Code.
11            vii.    Whether the existence of organic fluorine in the Product implicates
12                    potential health or safety concerns to Plaintiff and the Class Members.
13            viii.   Whether the omissions and non-disclosures by Defendant of the
14                    existence of organic fluorine in the Product were and are material to
15                    Plaintiff and the Class Members.
16             ix.    Whether the marketing and advertising by Defendant promoting the
17                    Hershey family of brands and the Product as maintaining the “[h]ighest
18                    quality, safety and sustainability standards” and “support[ing] [a]
19                    consumer’s right to know what’s in their food” were and are material to
20                    Plaintiff and the Class Members.
21              x.    Whether the marketing and advertising by Defendant promoting the
22                    Product as maintaining the “[h]ighest quality, safety and sustainability
23                    standards” and “support[ing] [a] consumer’s right to know what’s in

24                    their food” was and is false, deceptive and/or misleading in violation of

25                    California Business & Professions Code § 17200, et seq., California

26                    Business & Professions Code § 17500, et seq. and/or California Civil

27                    Code § 1750, et. seq.

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1                 xi.        Whether the omission and non-disclosures by Defendant of the existence
2                            of, and health risks from, organic fluorine in the Product violates
3                            California Business & Professions Code § 17200, et seq., California
4                            Business & Professions Code § 17500, et seq. and/or California Civil
5                            Code § 1750, et. seq.
6           70.         Accordingly, the determination of Defendant’s liability under each of the causes
7    of action presents legal issues that are common to Plaintiff and the class as a whole.
8           71.         Typicality: Plaintiff’s claims are co-extensive with those of the Class members
9    as Plaintiff and the Class Members’ injuries and claims arise from the same course of conduct
10   by Defendant as alleged herein.
11          72.         The Class is identifiable and ascertainable. Plaintiff has precisely defined the
12   Class based on objective criteria whereby Class Members would be able to know whether they
13   are a member of the prospective Class, specifically, all persons who purchased the Product in
14   the State of California during the time period of four (4) years preceding the date of the filing of
15   this class action through the present.
16          73.         Notice can be provided to such purchasers using techniques and a form of notice
17   customarily used in class actions, including direct notice by email to the Class Members and
18   other California consumers from Defendant’s and third-party retailers’ records, internet
19   publication, radio, newspapers, magazines and other social media platforms such as YouTube,
20   Instagram, TikTok and Facebook.
21          74.         Superiority: A class action is superior to other available methods for the fair and
22   efficient adjudication of this controversy. Plaintiff and Class Members have all suffered and
23   will continue to suffer harm and damages as a result of Defendant’s unlawful and wrongful

24   conduct. The expense and burden of individual litigation would make it impracticable and

25   impossible for proposed Class Members to afford to seek legal redress for the wrongs

26   complained of herein and prosecute their claims individually. Therefore, absent a class or

27   representative action, the Class Members will continue to suffer losses and Defendant will be

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1    allowed to continue these violations of law and to retain the proceeds of its wrongdoing. Class
2    treatment of common questions of law and fact would also be a superior method to multiple
3    individual actions or piecemeal litigation in that class treatment will conserve the resources of
4    the courts and the litigants and will promote consistency and efficiency of adjudication. Finally,
5    trial on a representative and class basis would be manageable. Liability may be determined by
6    facts and law common to the Class Representative and the Class Members and monetary
7    damages or restitution may be determined by proven and approved methods on a class wide
8    basis.
9                                     VI.     CAUSES OF ACTION
10                                    FIRST CAUSE OF ACTION
11     VIOLATION OF CALIFORNIA BUSINESS & PROFESSIONS CODE § 17200, et seq.
12      (Unlawful, Unfair, and Fraudulent Business Acts or Practices and Unfair, Deceptive,
13                                 Untrue or Misleading Advertising)
14            75.   Plaintiff repeats and realleges the allegations set forth in the preceding
15   paragraphs and incorporates the same as if set forth herein at length.
16            76.   This cause of action is brought pursuant to Business and Professions Code
17   §17200, et seq., on behalf of Plaintiff and the Class Members.
18            77.   Defendant is a “person” as defined by California Business & Professions Code §
19   17201.
20            78.   Defendant’s violations of California Health & Safety Code §§ 108945, 108946
21   and § 109000 for selling and distributing in commerce in the State of California food products
22   produced, marketed and sold by The Hershey Company under the brand name “BUBBLE
23   YUM” and specifically, its Bubble Yum Original Flavor Bubble Gum, due to, among other

24   things, the amount of organic fluorine in the Product and its wrapper at 100 ppm or above, the

25   omissions and non-disclosures of the existence and health risks of organic fluorine in the

26   Product and the false, misleading and deceptive marketing and advertising by Defendant

27   detailed herein constitute unlawful, unfair, and fraudulent business acts or practices and unfair,

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1    deceptive, untrue or misleading advertising within the meaning of California Business &
2    Professions Code § 17200, et seq.
3           79.     Defendant’s business practices, described herein, violated and continue to violate
4    the “unlawful” prong of California Business & Professions Code § 17200, et seq. by violating
5    California Civil Code §§ 3294, 1573, 1709, 1710, 1711, and 1750 et. seq., California Health &
6    Safety Code §§ 108945 – 108947, 109000 – 109014, 110390, 110395, 110400 as well as the
7    common law.
8           80.     Defendant violated California Health & Safety Code §§ 108945 – 108947,
9    109000 – 109014 by manufacturing, producing and distributing the Product and its wrapper with
10   organic fluorine at 100pm or above in commerce in California.
11          81.     Defendant violated California Health & Safety Code § 110390, 110395, 110400
12   by disseminating false advertisements about the Product.
13          82.     Defendant violated California Health & Safety Code § 110395 by manufacturing,
14   selling, delivering, holding, and offer for sale a Product that is falsely advertised.
15          83.     Defendant violated California Health & Safety Code § 110400 by receiving in
16   commerce a Product that is falsely advertised and delivering and proffering for delivery a
17   Product that is falsely advertised.
18          84.     Defendant, in its production and distribution of the Product with organic fluorine
19   and its marketing and advertising of the Hershey family of brands and, by implication, the
20   Product, makes material omissions and false and misleading statements regarding the attributes
21   and qualities of the Product, as set forth herein.
22          85.     Defendant knew that the omissions and representations that it made and continue
23   to make about the Product are false, deceptive, and misleading to Plaintiff and Class Members.

24          86.     Defendant’s omissions and false, deceptive, and misleading representations were

25   material to Plaintiff and the Class Members and played a substantial part, and was a substantial

26   factor, in influencing Plaintiff’s and the Class Members’ decisions to purchase the Product.

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1           87.     Plaintiff and the Class Members relied on Defendant’s omissions and false,
2    deceptive, and misleading representations and would not have purchased the Product if not for
3    the omissions and false, deceptive, and misleading representations and marketing by Defendant
4    about the Product set forth herein.
5           88.     Plaintiff and the Class Members have suffered injury in fact and have lost money
6    or property as a result of Defendant’s false, deceptive, and misleading representations and
7    marketing set forth herein.
8           89.     The Products as purchased by the Plaintiff and the Class Members were and are
9    unsatisfactory and worth less than the amount paid for them.
10          90.     Defendant’s wrongful conduct is part of a pattern or generalized course of
11   conduct.
12          91.     All of Defendant’s conduct alleged herein occurs and continues to occur in
13   Defendant’s business.
14          92.     Wherefore, Plaintiff, the Class Members, and other California consumers have,
15   among other things, no adequate remedy at law for the injuries that are currently being suffered
16   and that will be suffered in the future in that, unless and until enjoined by order of this Court,
17   the omissions and non-disclosure of material information by Defendant that implicates health
18   and safety concerns that a reasonable consumer would find material (i.e. the non-disclosure of
19   the existence and health risks of organic fluorine in the Product) and the continued false,
20   misleading and deceptive marketing and advertising by Defendant promoting the Hershey
21   family of brands and, by implication, the Product as maintaining the “[h]ighest quality, safety
22   and sustainability standards” and “support[ing] [a] consumer’s right to know what’s in their
23   food”, will continue and cause great and irreparable injury to Plaintiff, Class Members and other

24   California consumers.

25          93.     Therefore, pursuant to Business & Professions Code § 17203, Plaintiff seeks an

26   order in equity from this Court enjoining Defendant from continuing to engage, use, or employ

27   the practice of falsely marketing and advertising for sale of the Product as follows:

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1
                    i.      An order compelling Defendant to test for the existence of organic
2
                            fluorine in the Product and Product wrapper;
3
                  ii.       If unintentional organic fluorine is detected in the Product or Product
4
                            wrapper, above 100 ppm, an order compelling defendant to replace the
5
                            organic fluorine with the least toxic alternative and reduce the organic
6
                            fluorine below 100 ppm;
7
                  iii.      If detectable levels of organic fluorine are in the Product, an order
8
                            compelling Defendant to cease marketing, labeling, packaging, and
9
                            advertising the Hershey family of brands and, by implication, the
10
                            Product as maintaining the “[h]ighest quality, safety and sustainability
11
                            standards” and “support[ing] [a] consumer’s right to know what’s in
12
                            their food”; or
13

14
                  iv.       If detectable levels of organic fluorine are in the Product, an order

15                          compelling Defendant to disclose to Plaintiff and the public of the

16                          existence of, and warn of the potential safety risks from, organic

17                          fluorine in the Product and Product Wrapper.

18          94.          In addition, Plaintiff seeks an order awarding Plaintiff and the Class Members

19   restitution of the monetary amounts by which Plaintiff and the Class Members did not receive

20   the value of the Product they paid for, and by which Defendant was unjustly enriched.

21                                       SECOND CAUSE OF ACTION

22    VIOLATION OF CALIFORNIA BUSINESS & PROFESSIONS                                CODE § 17500, et seq.

23                                      (False and Misleading Advertising)

24          95.          Plaintiff repeats and realleges the allegations set forth in the preceding

25   paragraphs and incorporates the same as if set forth herein.

26          96.          This cause of action is brought pursuant to California Business and Professions

27   Code § 17500, et seq., on behalf of Plaintiff and the Class.

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                                                         29
                                              CLASS ACTION COMPLAINT
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1            97.     As alleged in the preceding paragraphs, the omissions and non-disclosures of the
2    existence of, and health risks from, organic fluorine in the Product and the false, misleading and
3    deceptive marketing and advertising by Defendant promoting the Hershey family of brands and,
4    by implication, the Product as maintaining the “[h]ighest quality, safety and sustainability
5    standards” and “support[ing] [a] consumer’s right to know what’s in their food” detailed herein
6    constitute unfair, unlawful, and fraudulent business practices within the meaning of California
7    Business & Professions Code § 17500, et seq.
8            98.     Defendant intended the omissions and non-disclosures of the existence of, and
9    health risks from, organic fluorine in the Product and the marketing and advertising by
10   Defendant promoting the Product as maintaining the “[h]ighest quality, safety and sustainability
11   standards” and “support[ing] [a] consumer’s right to know what’s in their food” detailed herein.
12           99.     Defendant publicly disseminated advertising which contained unlawful
13   omissions and non-disclosures of material facts (i.e. the existence of, and health risks from,
14   organic fluorine in the Product) and publicly disseminated advertising promoting the Product as
15   maintaining the “[h]ighest quality, safety and sustainability standards” and “support[ing] [a]
16   consumer’s right to know what’s in their food” which Defendant knew, or should have known
17   in the exercise of reasonable care, was untrue or misleading via advertising mediums that
18   include but are not limited to,
19   https://www.thehersheycompany.com/en_us/home/ingredients/about-our-ingredients.html, as
20   set forth herein.
21           100.    Defendant’s omissions and false, deceptive, and misleading representations were
22   material to Plaintiff and the Class Members and played a substantial part, and was a substantial
23   factor, in influencing Plaintiff’s and the Class Members’ decisions to purchase the Product.

24           101.    Plaintiff and the Class Members relied on Defendant’s omissions and false,

25   deceptive, and misleading representations and would not have purchased the Product if not for

26   the omissions and false, deceptive, and misleading representations and marketing by Defendant

27   set forth herein.

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                                        CLASS ACTION COMPLAINT
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1           102.         Plaintiff and the Class Members have suffered injury in fact and have lost money
2    or property as a result of Defendant’s false, deceptive, and misleading representations and
3    marketing set forth herein.
4           103.         The Product as purchased by Plaintiff and the Class Members was and is
5    unsatisfactory and worth less than the amount paid for it.
6           104.         All of Defendant’s conduct alleged herein occurs and continues to occur in
7    Defendant’s business.
8           105.         Wherefore, Plaintiff, the Class Members, and other California consumers have,
9    among other things, no adequate remedy at law for the injuries that are currently being suffered
10   and that will be suffered in the future in that, unless and until enjoined by order of this Court,
11   the omissions and non-disclosure of material information by Defendant that implicates health
12   and safety concerns that a reasonable consumer would find material ( i.e. the non-disclosure of
13   the existence of, and health risks from, organic fluorine in the Product) and the continued false,
14   misleading and deceptive marketing and advertising by Defendant promoting the Product as
15   maintaining the “[h]ighest quality, safety and sustainability standards” and “support[ing] [a]
16   consumer’s right to know what’s in their food” will continue and cause great and irreparable
17   injury to Plaintiff, Class Members and other California consumers.
18          106.         Therefore, pursuant to Business & Professions Code §17535, Plaintiff seeks an
19   order in equity from this Court enjoining Defendant from continuing to engage, use, or employ
20   the practice of falsely marketing and advertising for sale the Product as follows:
21                  i.      An order compelling Defendant to test for the existence of organic
22                          fluorine in the Product and Product wrapper;
23                 ii.      If unintentional organic fluorine is detected in the Product or Product
24                          wrapper, above 100 ppm, an order compelling defendant to replace the
25                          organic fluorine with the least toxic alternative and reduce the organic
26
                            fluorine below 100 ppm;
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                                            CLASS ACTION COMPLAINT
     Case 2:24-cv-10248-SPG-AJR                Document 1-1        Filed 11/26/24       Page 33 of 67 Page
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1
                   iii.     If detectable levels of organic fluorine are in the Product, an order
2
                            compelling Defendant to cease marketing, labeling, packaging, and
3
                            advertising the Hershey family of brands and, by implication, the
4
                            Product as maintaining the “[h]ighest quality, safety and sustainability
5
                            standards” and “support[ing] [a] consumer’s right to know what’s in
6
                            their food”; or
7
                   iv.      If detectable levels of organic fluorine are in the Product, an order
8
                            compelling Defendant to disclose to Plaintiff and the public of the
9
                            existence of, and warn of the potential safety risks from, organic
10
                            fluorine in the Product and Product Wrapper.
11
            107.         In addition, Plaintiff seeks an order awarding Plaintiff and the Class Members
12
     restitution of the monetary amounts by which Plaintiff and the Class Members did not receive
13
     the value of the Product they paid for and by which Defendant was unjustly enriched.
14
                                           THIRD CAUSE OF ACTION
15
                          VIOLATION OF CALIFORNIA CIVIL CODE § 1750, et seq.
16
                                         (Consumer Legal Remedies Act)
17
            108.         Plaintiff repeats and realleges the allegations set forth in the preceding
18
     paragraphs and incorporates the same as if set forth herein.
19
            109.         This cause of action is brought pursuant to California Civil Code § 1750, et seq.,
20
     the Consumers Legal Remedies Act, on behalf of Plaintiff and a Class pursuant to California
21
     Civil Code § 1781 consisting of the Class defined above.
22
            110.         The Class consists of thousands of persons, the joinder of whom is impracticable.
23
            111.         There are questions of law and fact common to the Class, which questions are
24
     substantially similar and predominate over questions affecting the individual members,
25
     including but not limited to:
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                                              CLASS ACTION COMPLAINT
     Case 2:24-cv-10248-SPG-AJR         Document 1-1       Filed 11/26/24      Page 34 of 67 Page
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1                i.   The Product that was and is currently being manufactured, marketed,
2                     advertised and sold by Defendant over the proposed class period and the
3                     Product purchased and tested by Plaintiff, as set forth herein, have the same
4                     manufacturing process and composition of materials and chemicals and were
5                     marketed, advertised and sold by Defendant in the same place and manner.
6               ii.   The Product was labeled and packaged the same during the proposed class
7                     period. Therefore, Plaintiff and the Class Members were exposed to the
8                     same labeling and packaging for the Product.
9              iii.   Defendant’s marketing and representations about the Hershey family of
10                    brands and the Product as maintaining the “[h]ighest quality, safety and
11                    sustainability standards” and “support[ing] [a] consumer’s right to know
12                    what’s in their food” to which Plaintiff and the Class were exposed were the
13                    same during the proposed class period and therefore common to Plaintiff and
14                    the Class Members.
15             iv.    Defendant’s omissions and non-disclosures as to the Product to which
16                    Plaintiff and the Class Members were exposed were the same during the
17                    proposed class period and therefore common to Plaintiff and the Class
18                    Members.
19              v.    Whether the Product contains organic fluorine.
20             vi.    Whether the existence of organic fluorine in the Product implicates potential
21                    health or safety concerns to Plaintiff and the Class Members.
22            vii.    Whether the omissions and non-disclosures by Defendant of the existence of
23                    organic fluorine in the Product were and are material to Plaintiff and the

24                    Class Members.

25            viii.   Whether the marketing and advertising by Defendant promoting the Product

26                    as maintaining the “[h]ighest quality, safety and sustainability standards” and

27                    “support[ing] [a] consumer’s right to know what’s in their food” was and is

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                                     CLASS ACTION COMPLAINT
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1                           false, deceptive and/or misleading in violation of California Civil Code §
2                           1750, et. seq.
3                  ix.      Whether the omission and non-disclosures by Defendant of the existence of,
4                           and health risks from, organic fluorine in the Product violates California
5                           Civil Code § 1750, et. seq.
6           112.         As set forth in detail herein, Defendant publicly disseminated marketing and
7    advertising which contained unlawful omissions and non-disclosures of material facts (i.e. the
8    existence of, and health risks from, organic fluorine in the Product) and publicly disseminated
9    marketing and advertising promoting the Product as maintaining the “[h]ighest quality, safety
10   and sustainability standards” and “support[ing] [a] consumer’s right to know what’s in their
11   food” when in fact it does not.
12          113.         The policies, acts, and practices described herein were intended to result in the
13   sale of the Product to the consuming public and violated and continue to violate California Civil
14   Code § 1770(a)(5) of the Act by making omissions and representations that the Hershey family
15   of brands and the Product have characteristics, ingredients and benefits which they do not have
16   as represented, and violate California Civil Code § 1770(a)(7) by representing that the Product
17   is of a particular standard, quality, grade and style when it is of another.
18          114.         In doing so, Defendant intentionally misrepresented material facts.
19          115.         Defendant’s omissions and representations about the Product led Plaintiff and
20   other consumers to believe that the Product has characteristics, ingredients and benefits which it
21   does not have and is of a particular standard, quality, grade and style when it is of another.
22          116.         Defendant knew that the omissions and the representations concerning the
23   Products’ purported attributes and qualities were false and/or misleading and material to the

24   Plaintiff, the Class Members and other consumers’ purchase decisions.

25          117.         Defendant’s actions as described hereinabove were done with a conscious

26   disregard of Plaintiff’s, the Class Members’ and other consumers’ rights.

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                                             CLASS ACTION COMPLAINT
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1            118.    Defendant’s omissions and false, deceptive, and misleading representations were
2    material to Plaintiff and the Class Members and played a substantial part, and was a substantial
3    factor, in influencing Plaintiff’s and the Class Members’ decisions to purchase the Product.
4            119.    Plaintiff and the Class Members relied on Defendant’s omissions and false,
5    deceptive, and misleading representations and would not have purchased the Product if not for
6    the omissions and false, deceptive, and misleading representations and marketing by Defendant
7    set forth herein.
8            120.    Plaintiff and the Class Members have suffered injury in fact and have lost money
9    or property as a result of Defendant’s false, deceptive, and misleading representations and
10   marketing set forth herein.
11           121.    The Product as purchased by Plaintiff and the Class Members was and is
12   unsatisfactory and worth less than the amount paid for it.
13           122.    On March 15, 2024, Defendant was served by Plaintiff with written notices
14   pursuant to Civil Code § 1750, et seq., which set forth Plaintiff’s contentions and requested
15   remedy. Plaintiff’s letter was sent via certified mail with electronic return receipt to Defendant
16   who acknowledged receipt. Defendant rejected Plaintiff’s attempts to address the concerns
17   stated herein and instead has allowed the Product to continue to be sold with full knowledge of
18   the alleged claims.
19           123.    All of Defendant’s conduct alleged herein occurs and continues to occur in
20   Defendant’s business.
21           124.    Wherefore, Plaintiff and other California consumers have, among other things,
22   no adequate remedy at law for the injuries that are currently being suffered and that will be
23   suffered in the future in that, unless and until enjoined by order of this Court, the omissions and

24   non-disclosure of material information by Defendant that implicates health and safety concerns

25   that a reasonable consumer would find material (i.e. the existence of, and health risks from, of

26   organic fluorine in the Product) and the continued false, misleading and deceptive marketing

27   and advertising by Defendant promoting the Product as maintaining the “[h]ighest quality,

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                                        CLASS ACTION COMPLAINT
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                                                     ID #:46


1    safety and sustainability standards” and “support[ing] [a] consumer’s right to know what’s in
2    their food”, will continue and cause great and irreparable injury to Plaintiff, Class Members and
3    other California consumers.
4           125.          Therefore, pursuant to California Civil Code § 1780(a)(2), Plaintiff seeks an
5    order in equity from this Court enjoining Defendant from continuing to engage, use, or employ
6    the practice of falsely marketing and advertising for sale the Products as follows:
7                    i.      An order compelling Defendant to test for the existence of organic
8                            fluorine in the Product and Product wrapper;
9
                   ii.       If unintentional organic fluorine is detected in the Product or Product
10
                             wrapper, above 100 ppm, an order compelling defendant to replace the
11
                             organic fluorine with the least toxic alternative and reduce the organic
12
                             fluorine below 100 ppm;
13
                   iii.      If detectable levels of organic fluorine are in the Product, an order
14
                             compelling Defendant to cease marketing, labeling, packaging, and
15
                             advertising the Hershey family of brands and, by implication, the
16
                             Product as maintaining the “[h]ighest quality, safety and sustainability
17
                             standards” and “support[ing] [a] consumer’s right to know what’s in
18
                             their food”; or
19
                   iv.       If detectable levels of organic fluorine are in the Product, an order
20
                             compelling Defendant to disclose to Plaintiff and the public of the
21

22
                             existence of, and warn of the potential safety risks from, organic

23                           fluorine in the Product and Product Wrapper.

24          126.          In addition, Plaintiff seeks an order awarding Plaintiff and the Class Members

25   restitution of the monetary amounts by which Plaintiff and the Class Members did not receive

26   the value of the Product they paid for and by which Defendant was unjustly enriched, an award

27   of punitive damages, costs and attorney’s fees.

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                                                          36
                                               CLASS ACTION COMPLAINT
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1           WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,
2    prays for judgment and relief on all Causes of Action as follows:
3

4                           FIRST AND SECOND CAUSES OF ACTION
5           1.      An order enjoining Defendant from the practices complained of herein;
6           2.      An order certifying that the action may be maintained as a Class Action;
7           3.      For an award of restitution in an amount according to proof at trial;
8           4.      For an award of attorney’s fees pursuant to California Civil Code § 1021.5.
9

10                                   THIRD CAUSE OF ACTION
11          1.      An order enjoining Defendant from pursuing the practices complained of
12                  pursuant to California Civil Code § 1780(a)(2);
13          2.      An order certifying that the action may be maintained as a Class Action
14                  pursuant to California Civil Code § 1781;
15          3.      For an award of restitution in an amount according to proof at trial pursuant to
16                  California Civil Code § 1780(a)(3);
17          4.      For an award of punitive damages pursuant to California Civil Code §
18                  1780(a)(4);
19          5.      For an award of costs of this suit pursuant to California Civil Code § 1780(e);
20          6.      For an award of attorney’s fees pursuant to California Civil Code § 1780(e)
21                  and/or California Civil Code § 1021.5.
22

23                                        FURTHER RELIEF

24          Plaintiff further seeks actual and punitive damages pursuant to California Civil Code §

25   3294, pre- and post-judgment interest and such other and further relief as the Court may deem

26   necessary or appropriate.

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                                       CLASS ACTION COMPLAINT
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1                                 VII.    JURY TRIAL DEMANDED
2          Plaintiff demands a jury trial on all triable issues.
3

4    DATED: October 24, 2024                           STEVENS, L.C.

5

6
                                                       By:
7                                                            Paul D. Stevens
                                                             Attorneys for Plaintiff and the Class
8

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                                         CLASS ACTION COMPLAINT
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                                  ID #:49




                                                   BUBBLE YUM
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                                  ID #:50
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                                                                                 ID #:51
 SHORT TITLE                                                                                                                CASE NUMBER



                                    CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                          (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                  This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.
Step 2: In Column B, check the box for the type of action that best describes the nature of the case.
Step 3: In Column C, circle the number which explains the reason for the court filing location you have chosen.


                                              Applicable Reasons for Choosing Courthouse Location (Column C)
 1.               Class Actions must be filed in the Stanley Mosk Courthouse, Central District.        7.   Location where petitioner resides.

 2.               Permissive filing in Central District.                                               8.   Location wherein defendant/respondent functions wholly.

 3.               Location where cause of action arose.                                                9.   Location where one or more of the parties reside.

 4.               Location where bodily injury, death or damage occurred.                              10. Location of Labor Commissioner Office.

 5.                Location where performance required, or defendant resides.                          11. Mandatory filing location (Hub Cases – unlawful detainer, limited
                                                                                                           non-collection, limited collection).
 6.                  Location of property or permanently garaged vehicle.




                                             A                                                           B                                                      C
                                     Civil Case Cover                                              Type of Action                                           Applicable
                                     Sheet Case Type                                              (check only one)                                        Reasons (see
                                                                                                                                                          Step 3 above)
                                         Auto (22)                2201 Motor Vehicle – Personal Injury/Property Damage/Wrongful                                1, 4
  Auto Tort




                                                               Death
                                    Uninsured Motorist           4601 Uninsured Motorist – Personal Injury/Property                                              1, 4
                                           (46)                Damage/Wrongful Death
                                      Other Personal               2301 Premise Liability (e.g., dangerous conditions of property,                               1, 4
                                     Injury/ Property          slip/trip and fall, dog attack, etc.)
  Other Personal Injury/ Property




                                    Damage/ Wrongful
    Damage/ Wrongful Death




                                        Death (23)                 2302 Intentional Bodily Injury/Property Damage/Wrongful Death                                 1, 4
                                                               (e.g., assault, battery, vandalism, etc.)

                                                                   2303 Intentional Infliction of Emotional Distress                                             1, 4

                                                                   2304 Other Personal Injury/Property Damage/Wrongful Death                                     1, 4

                                                                  2305 Elder/Dependent Adult Abuse/Claims Against Skilled Nursing                                1, 4
                                                               Facility

                                                                   2306 Intentional Conduct – Sexual Abuse Case (in any form)                                    1, 4



LASC CIV 109 Rev. 01/23                                       CIVIL CASE COVER SHEET ADDENDUM                                                       LASC Local Rule 2.3
For Mandatory Use                                               AND STATEMENT OF LOCATION
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 SHORT TITLE                                                                                           CASE NUMBER




                                     A                                                    B                                          C
                            Civil Case Cover                                     Type of Action                                 Applicable
                            Sheet Case Type                                     (check only one)                              Reasons (see
                                                                                                                              Step 3 above)
                                                       2307 Construction Accidents                                                 1, 4
                                                       2308 Landlord – Tenant Habitability (e.g., bed bugs, mold, etc.)            1, 4
                           Product Liability (24)      2401 Product Liability (not asbestos or toxic/ environmental)               1, 4
  Other Personal Injury/
   Property Damage/
     Wrongful Death




                                                                                                                                  1, 3, 5
                                                        2402 Product Liability – Song-Beverly Consumer Warranty Act (CA
                                                    Civil Code §§1790-1795.8) (Lemon Law)
                           Medical Malpractice         4501 Medical Malpractice – Physicians & Surgeons                            1, 4
                                  (45)
                                                       4502 Other Professional Health Care Malpractice                             1, 4
                            Business Tort (07)         0701 Other Commercial/Business Tort (not fraud or breach of                1, 2, 3
  Damage/Wrongful Death




                                                    contract)
                             Civil Rights (08)                                                                                    1, 2, 3
     Injury/Property




                                                       0801 Civil Rights/Discrimination
      Non-Personal




                             Defamation (13)           1301 Defamation (slander/libel)                                            1, 2, 3
           Tort




                                Fraud (16)             1601 Fraud (no contract)                                                   1, 2, 3
                              Professional             2501 Legal Malpractice                                                     1, 2, 3
                             Negligence (25)
                                                       2502 Other Professional Malpractice (not medical or legal)                 1, 2, 3
                                Other (35)             3501 Other Non-Personal Injury/Property Damage Tort                        1, 2, 3
                               Wrongful                3601 Wrongful Termination                                                  1, 2, 3
  Employment




                            Termination (36)
                           Other Employment            1501 Other Employment Complaint Case                                       1, 2, 3
                                  (15)
                                                       1502 Labor Commissioner Appeals                                              10

                           Breach of Contract /       0601 Breach of Rental/Lease Contract (not unlawful detainer or               2, 5
                              Warranty (06)         wrongful eviction)
                             (not insurance)
                                                        0602 Contract/Warranty Breach – Seller Plaintiff (no                       2, 5
                                                    fraud/negligence)
                                                       0603 Negligent Breach of Contract/Warranty (no fraud)                      1, 2, 5
                                                       0604 Other Breach of Contract/Warranty (no fraud/ negligence)              1, 2, 5
  Contract




                                                       0605 Breach of Rental/Lease Contract (COVID-19 Rental Debt)                 2, 5
                             Collections (09)          0901 Collections Case – Seller Plaintiff                                  5, 6, 11
                                                       0902 Other Promissory Note/Collections Case                                 5, 11
                                                       0903 Collections Case – Purchased Debt (charged off consumer debt         5, 6, 11
                                                    purchased on or after January 1, 2014)
                                                       0904 Collections Case – COVID-19 Rental Debt                                5, 11
                           Insurance Coverage          1801 Insurance Coverage (not complex)                                     1, 2, 5, 8
                                  (18)



LASC CIV 109 Rev. 01/23                             CIVIL CASE COVER SHEET ADDENDUM                                       LASC Local Rule 2.3
For Mandatory Use                                     AND STATEMENT OF LOCATION
                             Case 2:24-cv-10248-SPG-AJR             Document 1-1           Filed 11/26/24      Page 44 of 67 Page
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 SHORT TITLE                                                                                              CASE NUMBER




                                            A                                                B                                        C
                                     Civil Case Cover                                  Type of Action                            Applicable
                                     Sheet Case Type                                  (check only one)                         Reasons (see
                                                                                                                               Step 3 above)
                                    Other Contract (37)      3701 Contractual Fraud                                               1, 2, 3, 5
                      (Continued)
  Contract




                                                             3702 Tortious Interference                                           1, 2, 3, 5
                                                             3703 Other Contract Dispute (not breach/insurance/fraud/            1, 2, 3, 8, 9
                                                          negligence)
                                     Eminent Domain/         1401 Eminent Domain/Condemnation                                        2, 6
                                          Inverse                                                Number of Parcels _________
                                    Condemnation (14)
  Real Property




                                     Wrongful Eviction       3301 Wrongful Eviction Case                                             2, 6
                                            (33)
                                        Other Real           2601 Mortgage Foreclosure                                               2, 6
                                       Property (26)         2602 Quiet Title                                                        2, 6
                                                             2603 Other Real Property (not eminent domain,                           2, 6
                                                          landlord/tenant, foreclosure)
                                    Unlawful Detainer        3101 Unlawful Detainer – Commercial (not drugs or wrongful             6, 11
                                    – Commercial (31)     eviction)
  Unlawful Detainer




                                    Unlawful Detainer        3201 Unlawful Detainer – Residential (not drugs or wrongful            6, 11
                                    – Residential (32)    eviction)
                                    Unlawful Detainer        3401 Unlawful Detainer – Post Foreclosure                             2, 6, 11
                                    – Post Foreclosure
                                           (34)
                                    Unlawful Detainer        3801 Unlawful Detainer – Drugs                                        2, 6, 11
                                       – Drugs (38)
                                     Asset Forfeiture        0501 Asset Forfeiture Case                                            2, 3, 6
                                           (05)
                                        Petition re          1101 Petition to Compel/Confirm/Vacate Arbitration                      2, 5
                                     Arbitration (11)
  Judicial Review




                                     Writ of Mandate         0201 Writ – Administrative Mandamus                                     2, 8
                                           (02)              0202 Writ – Mandamus on Limited Court Case Matter                        2
                                                             0203 Writ – Other Limited Court Case Review                              2
                                      Other Judicial         3901 Other Writ/Judicial Review                                         2, 8
                                       Review (39)
                                                             3902 Administrative Hearing                                             2, 8

                                                             3903 Parking Appeal                                                     2, 8

                                     Antitrust/Trade         0301 Antitrust/Trade Regulation                                       1, 2, 8
  Provisionally




                                     Regulation (03)
    Litigation
    Complex




                                      Asbestos (04)          0401 Asbestos Property Damage                                          1, 11

                                                             0402 Asbestos Personal Injury/Wrongful Death                           1, 11


LASC CIV 109 Rev. 01/23                                   CIVIL CASE COVER SHEET ADDENDUM                                  LASC Local Rule 2.3
For Mandatory Use                                           AND STATEMENT OF LOCATION
                                  Case 2:24-cv-10248-SPG-AJR            Document 1-1          Filed 11/26/24     Page 45 of 67 Page
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 SHORT TITLE                                                                                                 CASE NUMBER




                                                A                                                B                                        C
                                         Civil Case Cover                               Type of Action                               Applicable
                                         Sheet Case Type                               (check only one)                            Reasons (see
                                                                                                                                   Step 3 above)
                                           Construction           1001 Construction Defect                                             1, 2, 3
                                            Defect (10)
  Provisionally Complex




                                         Claims Involving         4001 Claims Involving Mass Tort                                      1, 2, 8
                                          Mass Tort (40)
        (Continued)
        Litigation




                                       Securities Litigation      2801 Securities Litigation Case                                      1, 2, 8
                                               (28)
                                            Toxic Tort            3001 Toxic Tort/Environmental                                       1, 2, 3, 8
                                       Environmental (30)
                                       Insurance Coverage         4101 Insurance Coverage/Subrogation (complex case only)             1, 2, 5, 8
                                           Claims from
                                        Complex Case (41)
                                         Enforcement of           2001 Sister State Judgment                                          2, 5, 11
                                          Judgment (20)
  Enforcement of




                                                                  2002 Abstract of Judgment                                             2, 6
    Judgment




                                                                  2004 Administrative Agency Award (not unpaid taxes)                   2, 8

                                                                  2005 Petition/Certificate for Entry of Judgment Unpaid Tax            2, 8

                                                                  2006 Other Enforcement of Judgment Case                              2, 8, 9
                                            RICO (27)             2701 Racketeering (RICO) Case                                        1, 2, 8
  Miscellaneous Civil




                                        Other Complaints          4201 Declaratory Relief Only                                         1, 2, 8
     Complaints




                                         (not specified
                                                                  4202 Injunctive Relief Only (not domestic/harassment)                 2, 8
                                           above) (42)
                                                                  4203 Other Commercial Complaint Case (non-                           1, 2, 8
                                                               tort/noncomplex)
                                                                  4204 Other Civil Complaint (non-tort/non-complex)                    1, 2, 8
                                           Partnership            2101 Partnership and Corporation Governance Case                      2, 8
                                           Corporation
  Miscellaneous Civil Petitions




                                         Governance (21)
                                         Other Petitions          4301 Civil Harassment with Damages                                   2, 3, 9
                                          (not specified
                                                                  4302 Workplace Harassment with Damages                               2, 3, 9
                                           above) (43)
                                                                  4303 Elder/Dependent Adult Abuse Case with Damages                   2, 3, 9
                                                                  4304 Election Contest                                                   2
                                                                  4305 Petition for Change of Name/Change of Gender                     2, 7
                                                                  4306 Petition for Relief from Late Claim Law                         2, 3, 8
                                                                  4307 Other Civil Petition                                             2, 9




LASC CIV 109 Rev. 01/23                                        CIVIL CASE COVER SHEET ADDENDUM                                 LASC Local Rule 2.3
For Mandatory Use                                                AND STATEMENT OF LOCATION
         Case 2:24-cv-10248-SPG-AJR            Document 1-1        Filed 11/26/24    Page 46 of 67 Page
                                                    ID #:55
 SHORT TITLE                                                                    CASE NUMBER



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column
C for the type of action that you have selected. Enter the address, which is the basis for the filing location
including zip code. (No address required for class action cases.)

 REASON:                                                           ADDRESS:
   1. 2.       3.   4.    5.   6.   7.   8.   9.   10.   11

 CITY:                              STATE:         ZIP CODE:


Step 5: Certification of Assignment: I certify that this case is properly filed in the ____________________
District of the Superior Court of California, County of Los Angeles [Code of Civ. Proc., 392 et seq., and LASC Local
Rule 2.3(a)(1)(E)]

Dated: ___________________                                     ____________________________________________
                                                                         (SIGNATURE OF ATTORNEY/FILING PARTY

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY COMMENCE
YOUR NEW COURT CASE:

    1. Original Complaint or Petition.
    2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
    3. Civil Case Cover Sheet Judicial Council form CM-010.
    4. Civil Case Cover Sheet Addendum and Statement of Location form LASC CIV 109 (01/23).
    5. Payment in full of the filing fee, unless there is a court order for waiver, partial or schedule payments.
    6. A signed order appointing a Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or
       petitioner is a minor under 18 years of age will be required by Court to issue a Summons.
    7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this
       addendum must be served along with the Summons and Complaint, or other initiating pleading in the
       case.




LASC CIV 109 Rev. 01/23              CIVIL CASE COVER SHEET ADDENDUM                             LASC Local Rule 2.3
For Mandatory Use                      AND STATEMENT OF LOCATION
          Case 2:24-cv-10248-SPG-AJR                        Document 1-1               Filed 11/26/24               Page 47 of 67 Page
                                                                 ID #:56
                                                                                                                                                   SUM-100
                                                   SUMMONS                                                                   FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                           (CITACION JUDICIAL)

NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
THE HERSHEY COMPANY dba BUBBLE YUM and DOES 1 through 10, inclusive


YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTÁ DEMANDANDO EL DEMANDANTE):
ABRAHAM MOHAMED, individually and on behalf of all others similarly situated

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
continuación.
   Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
                                                                                               CASE NUMBER:
The name and address of the court is:                                                          (Número del Caso):
(El nombre y dirección de la corte es): Stanley Mosk Courthouse
111 N. Hill St. Los Angeles, CA 90012

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Paul D. Stevens/Lauren Bochurberg, STEVENS LC, 1855 Industrial St., Suite 518, Los Angeles, CA 90021, Tel: 213-270-1215
DATE: October 24, 2024                                              Clerk, by                                            , Deputy
(Fecha)                                                             (Secretario)                                         (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
 [SEAL]                              NOTICE TO THE PERSON SERVED: You are served
                                     1.      as an individual defendant.
                                     2.      as the person sued under the fictitious name of (specify):

                                     3.          on behalf of (specify):
                                          under:        CCP 416.10 (corporation)                                    CCP 416.60 (minor)
                                                        CCP 416.20 (defunct corporation)                            CCP 416.70 (conservatee)
                                                        CCP 416.40 (association or partnership)                     CCP 416.90 (authorized person)
                                                        other (specify):
                                     4.          by personal delivery on (date):
                                                                                                                                                       Page 1 of 1
Form Adopted for Mandatory Use                                                                                               Code of Civil Procedure §§ 412.20, 465
  Judicial Council of California
                                                                      SUMMONS                                                                    www.courts.ca.gov
 SUM-100 [Rev. July 1, 2009]
Case 2:24-cv-10248-SPG-AJR                    Document 1-1   Filed 11/26/24   Page 48 of 67 Page
                                                   ID #:57



 1   Paul D. Stevens (Cal. Bar. No. 207107)
     pstevens@stevenslc.com
 2   Lauren A. Bochurberg (Cal. Bar. No. 333629)
     lbochurberg@stevenslc.com
 3   STEVENS, LC
     1855 Industrial Street, Suite 518
 4   Los Angeles, California 90021
     Tel: (213) 270-1215
 5
     Attorneys for Plaintiff and the Proposed Class
 6

 7                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                                              COUNTY OF LOS ANGELES
 9

10   ABRAHAM MOHAMED, individually and on                     Case No.
     behalf of all others similarly situated,
11
                                                              CLASS ACTION COMPLAINT
                    Plaintiffs,
12
                                                              DECLARATION OF PAUL D. STEVENS,
13                  v.                                        ESQ. RE: VENUE PURSUANT TO CAL.
                                                              CIV. CODE § 1780 (d)
14   THE HERSHEY COMPANY dba BUBBLE
     YUM and DOES 1 through 10, inclusive,
15

16                  Defendant.

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                                                          1
     Error! Unknown document property name.     DECLARATION
                                                          1 OF VENUE
Case 2:24-cv-10248-SPG-AJR                    Document 1-1   Filed 11/26/24     Page 49 of 67 Page
                                                   ID #:58



 1                                 DECLARATION OF PAUL D. STEVENS, ESQ.
 2   I, Paul D. Stevens, declare as follows:
 3            1.       I am an attorney admitted and licensed to practice in the state of California and before
 4   all of the United States District Courts in the State of California as well as the Ninth Circuit Court of
 5   Appeals and United States Supreme Court. I am a member in good standing and have never been
 6   subject to discipline by any court.
 7            2.       I am the owner/principal attorney of the law firm of Stevens, LC, counsel for Plaintiff
 8   and the putative Class in this action. I have personal knowledge of the matters stated herein. If called
 9   as a witness, I could and would testify truthfully and competently thereto under oath.
10            3.       I submit this declaration pursuant to California Civil Code § 1780(d) in support of
11   showing that the action has been commenced in a county described in § 1780(d) as a proper place for
12   the trial of the action.
13            4.       This Court is proper for trial of this action because Defendant is doing business in
14   Los Angeles County and Los Angeles County is where a substantial portion of the transaction that is
15   the subject of the above-entitled action occurred.
16            5.       I declare and state under penalty of perjury pursuant to the laws of the State of
17   California that the foregoing is true and correct, and that this Declaration was executed this 24 day of
18   October, 2024 in Los Angeles, California.
19
20                                                                  STEVENS, LC
21
                                                                    _______________________
22
                                                                    Paul D. Stevens, Esq.
23

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                                                          2
     Error! Unknown document property name.     DECLARATION
                                                          2 OF VENUE
       Case 2:24-cv-10248-SPG-AJR               Document 1-1         Filed 11/26/24       Page 50 of 67 Page
                                                     ID #:59

                          Superior Court of California, County of Los Angeles


                              ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                     INFORMATION PACKAGE
  THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

  CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action with the
  cross-complaint.



What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney’s fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    • No Public Trial: ADR does not provide a public trial or decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with
       a settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person’s concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.

                Mediation may not be appropriate when the parties
                  • want a public trial and want a judge or jury to decide the outcome.
                  • lack equal bargaining power or have a history of physical/emotional abuse.




LASC CIV 271 Rev. 03/23                                                                                          Page 1 of 2
For Mandatory Use
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                                              ID #:60

                          How to Arrange Mediation in Los Angeles County

Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

    a. The Civil Mediation Vendor Resource List
       If all parties in an active civil case agree to mediation, they may contact these organizations to
       request a “Resource List Mediation” for mediation at reduced cost or no cost (for selected
       cases).

        •   ADR Services, Inc. Assistant Case Manager Janet Solis, janet@adrservices.com
            (213) 683-1600
        •   Mediation Center of Los Angeles Program Manager info@mediationLA.org
            (833) 476-9145

        These organizations cannot accept every case and they may decline cases at their discretion.
        They may offer online mediation by video conference for cases they accept. Before contacting
        these organizations, review important information and FAQs at www.lacourt.org/ADR.Res.List

        NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate,
        or small claims cases.

    b. Los Angeles County Dispute Resolution Programs. Los Angeles County-funded agencies provide
       mediation services on the day of hearings in small claims, unlawful detainer (eviction), civil
       harassment, and limited civil (collections and non-collection) cases.
       https://dcba.lacounty.gov/countywidedrp/

        Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
        should carefully review the Notice and other information they may receive about (ODR)
        requirements for their case. https://my.lacourt.org/odr/

    c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
   arguments to the person who decides the outcome. In “binding” arbitration, the arbitrator’s
   decision is final; there is no right to trial. In “nonbinding” arbitration, any party can request a trial
   after the arbitrator’s decision. For more information about arbitration, visit
   https://www.courts.ca.gov/programs-adr.htm

4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close
   to the trial date or on the day of trial. The parties and their attorneys meet with a judge or
   settlement officer who does not make a decision but who instead assists the parties in evaluating
   the strengths and weaknesses of the case and in negotiating a settlement. For information about
   the Court’s MSC programs for civil cases, visit https://www.lacourt.org/division/civil/CI0047.aspx

Los Angeles Superior Court ADR website: https://www.lacourt.org/division/civil/CI0109.aspx
For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm



LASC CIV 271 Rev. 03/23                                                                            Page 2 of 2
For Mandatory Use
        Case 2:24-cv-10248-SPG-AJR   Document 1-1                         Filed 11/26/24         Page 52 of 67 Page
                                          ID #:61                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                  CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 24STCV27893

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                   ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Stuart M. Rice                     1




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   David W. Slayton, Executive Officer / Clerk of Court
       10/24/2024
    on _____________________________                                         C. Vega
                                                                          By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
        Case 2:24-cv-10248-SPG-AJR                     Document 1-1           Filed 11/26/24          Page 53 of 67 Page
                                                            ID #:62
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
                Case 2:24-cv-10248-SPG-AJR                                       Document 1-1                Filed 11/26/24                Page 54 of 67 Page
                                                                                      ID #:63

                                                                                                                                                                               POS-010
      ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, stare Sar number, and addressJ                                                                    FOR COURT USE ON( T
      Stevens, LC
      Paul Stevens SBN 207107
      1855 industrial St Apt 518
      Los Angeles, CA 90021
                          TELEPHONE NO:                                          FAX NO (Opaonaii
                E-MAIL ADDRESS foprionaii:
                   ATTORNEY FOR INomeg         Plaintiff
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF                       Los Angeles
                 STREETADDRESSi  '312 N. Spring St.
            MAILING ADDRESS:
       CITYAND ZIP CODE:             Los Angeles,90012
                  BRANCH NAME:       Spring St.
                   PLAINTIFF/PETITIONER:       ABRAHAM MOHAMED                                                                 CASE NUMBER:
        DEFENDANT/RESPONDENT:                  THE HERSHEY COMPANY. et el.                                                     2451CV27893
                                                                                                                               Ref. No. or File No.i
                                               PROOF OF SERVICE OF SUMMONS
                                                                                                                   12056573(24010051)
                                                      (Separate proof of service is required for each party served I
 1.     At the time of service was at least 18 years of age and nota party to this action.
                                       I



2.        served copies of.
            I



        a. ~X      Summons
        b. ~X      Complaint
        c. ~X      Alternative Dispute Resolution (ADR) Package
        d. ~X
        e.
        f.
                   ~
                   Civil Case Cover Sheet (servedin complex cases only)
                   Cross-Complaint
                   ~X      Other (specify documentsJ:           Civil Case Cover Sheet Addendum and Statement of Location, Declaration of Paul D. Stevens, Esq. Re: Venue
                                                                Pursuant to Cal. Civ. Code 5 1780 ID), Notice of Case Assignment - Unhmited Civil Case
3.      a.         Party served (specify name of party as shown on documents served):
                   THE HERSHEY COMPANY, doing business as BUBBLE YUM
        b.        Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item Sb on whom
                   ~X
                 substituted service was made) (specify name ond reiationship to rhe potty named in item 3o):
                 Corporation Trust Company - Person Authorized to Accept Service of Process, Nadia Bellamy, Intake Specialist
4.      Address where the party was served:
        1209 Orange St, Wilmington, DE 19801
5.      Iserved the party (check proper box)
        a.  ~X     by personal service. personally delivered the documents listed in item 2 to the party or person authonzed to
                                                        I




        b.         ~
                   receive service of process for the party(1) on(date): Mon, Oct 28 2024
                   by substituted service. On (date):                                     at (time):
                  item 2 with or in the presence of (name ond title or relationship Io person indicated in item 3):
                                                                                                                    (2) at (timeJ: 01:37 PM
                                                                                                                                          left the documents listed in
                                                                                                                                                        I




                          (I)   H (business)  person at least )8 years of
                                  served. informed  I
                                                            a                 apparently charge at the
                                                                                        age
                                                         or her of the general nature of the papers.
                                                                 him
                                                                                                        in              office or usual place of business of the person to be

                          (2) C] (home) a competent member of the household (at least 18 years of age) at the dwelbng house or usual place of abode of the
                                 party. informed him or her of the general nature of the papers.
                                                I


                          (3) Cl (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address of the person
                                       to be served, other than a United States Postal Service post office box. informed him or her of the general nature of the
                                                                                                                    I

                                       papers.
                          PB    H       thereafter mailed (by first dass, postage prepaid) copies of the documents to the person to be served at the place
                                           I




                                       where the copies were left (Code Civ. Proc., 5 415.20). mailed the documents on (date):
                                                                                                    I


                                       from (aiyJ:                                                                            or         M
                                                                                                                                    a declaration of mailing is attached.
                          (5)   E3     Iattach a declaration of diligence stating actions taken first to attempt personal service.




Form Adopted for Mandatory Use                                                   PROOF OF SERVICE OF SUMMONS                                                                Page 1 of 2
ludicial Council of California                                                                                                                         Code of Civil Procedure, 5 41 7 10
POS-010 [Rev. January I, 2007]
            Case 2:24-cv-10248-SPG-AJR                             Document 1-1                Filed 11/26/24              Page 55 of 67 Page
                                                                        ID #:64

             PLAINTIFF/PETITIONER:         ABRAHAM MOHAMED                                                       CASE NUMBER.
       DEFENDANT/RESPONDENT:               THE HERSHEY COMPANY.et el.                                            24STCV27893

 5.     c.   ~        by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address shown in item 4, by
                      first-class mail, postage prepaid,

               ~      (1) on (dote):
                      (3)
                                                                                   (2) from (c/ty):
                                   with two copies of the Not/ca and Acknow/edgment of Race/pt and a postage-paid return envelope addressed to me. (Attach



             ~ ~
                                   comp/eted Notice end Acknowledgement of Race/PC) (Code Civ. Proc., 5 415.30.)
                      (4)          to an address outside California with return receipt requested. (Code Civ. Proc.,% 41540)
       d.             by other means (specify means of service and authorizing code section):

                    Additional page describing service is attached.
 6.    1he
       a.    ~
             "Notice to the Person Served" (on the summons) was completed as follows:


             ~      as an individual defendant.
                    as the person sued under the fictitious name of(specify):
       b.
       c.
       d.
             ~
             ~X
                      as occupant.
                      On behalf of(specify): THE HERSHEY COMPANY, domg business as BUBBLE YUM
                      under the following Code of Civil Procedure section:
                      ~X    416.10(corporation)                                         415.95 (business organization, form unknown)
                            416.20 (defunct corporation)                                416.60 (minor)
                            416.30 (joint stock company/association)                    416.70 (ward or conservatee)
                            416.40 (association or partnership)                         416.90 (authorized person)
                                 416.50 (pubbc entity)                                           415.46 (occupant)
                                 other:
 7.    Person who served papers
       a.    Name:                      Sharlene Brooks
       b.    Address:                   1400 North McDowell Blvd Suite 300, Petaluma, CA 94954
       c.    Telephone number:          800-938-8815
       d.    The fee for service was: $ 160
       e.    I am:


             (I) ~X
             (2)
             (3)
                    ~
                    ~
                         not a registered California process server.
                         exemptfrom registration under Business and Professions Code section 22350(b).
                         a registered California process server.
                           (i)      %owner &employee           IX independent contractor
                           (ii)Registration No: N/A
                         (ili) County: N/A
8.     ~X      I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




9.     ~       oi
               I   am a California sheriff or marshal and certify that the foregoing is true and correct.
                                                           I




Date: October 29, 2024
Sharlene Brooks
      (NAME OF PERSON INHO SERVED PAPERS / SHERIFF OR MARSHAL)

InfoTrack US, Inc. - P000634
1400 North McDowell Blvd Suite 300,
Petaluma, CA 94954
800-938-881 5
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P OS-010 [Rev. January 1, 2007)                                   PROOF OF SERVICE OF SUMMONS                                                       Page 2 of 2
     Case 2:24-cv-10248-SPG-AJR           Document 1-1           Filed 11/26/24     Page 56 of 67 Page
                                               ID #:65


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 8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                                 FOR THE COUNTY OF LOS ANGELES

10
     ABRAHAM MOHAMED,                                   )       Case No.: 24STCV27893
11                                                      )
                                  Plaintiff(s),         )
12                                                      )       INITIAL STATUS CONFERENCE ORDER
            v.                                          )       (COMPLEX CLASS ACTIONS)
13                                                      )
     THE HERSHEY COMPANY,                               )       Case Assigned for All Purposes to
14                                                      )       Judge Stuart M. Rice
                                                        )
15                               Defendant(s).          )       Department: 1
                                                        )
16                                                      )
                                                        )
17                                                      )
                                                        )
18                                                      )
19          This action has been designated as complex pursuant to CRC 3.400(a), and thus requires
20   exceptional judicial management to carry out the purposes of Rule 3.400(a) and to promote effective
21   decision-making by the Court. This Initial Status Conference Order (Complex Class Actions) supplements
22   a Minute Order served concurrently herewith. That Minute Order sets a date and time for the Initial Status
23   Conference and includes many other important provisions which are NOT repeated in this Order. Counsel
24   must review that Minute Order carefully to be fully informed of your obligations and the unique processes
25   used in the Los Angeles Superior Court Complex Courtrooms.
26          Note: Some provisions of this Order are in reference to wage-and-hour class actions and may not
27   be applicable to other types of class actions. Insofar as they are irrelevant to your case, say so in your
28   Joint Initial Status Conference Response Statement.

                                                            1
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                                                 ID #:66


 1   Pending further order, the following is ordered:

 2           The Court orders counsel to prepare for the Initial Status Conference (“ISC”) by identifying and

 3   discussing the central legal and factual issues in the case. Counsel for plaintiff is ordered to initiate contact

 4   with counsel for defense to begin this process. Counsel then must negotiate and agree, as much as possible,

 5   on a case management plan. To this end, counsel must file a Joint Initial Status Conference Response

 6   Statement five (5) court days before the Initial Status Conference. The Joint Response Statement must be

 7   filed on line-numbered pleading paper and must specifically answer each of the below-numbered

 8   questions. Do not use the Judicial Council Form CM-110 (Case Management Statement).

 9           1.      PARTIES AND COUNSEL: Please list all presently-named class representatives and

10   presently-named defendants, together with all counsel of record, including counsel’s contact and email

11   information.

12           2.      STATUS OF PLEADINGS: Please indicate whether defendant has filed a Notice of

13   Appearance or an Answer to the Complaint, and, if so, indicate the filing date(s).

14           3.      POTENTIAL ADDITIONAL PARTIES:                      Indicate whether any plaintiff presently

15   intends to add additional class representatives, and, if so, the name(s) and date by which these class

16   representatives will be added. Indicate whether any plaintiff presently intends to name additional

17   defendants, and, if so, the name(s) and date by which the defendant(s) will be added. Indicate whether

18   any appearing defendant presently intends to file a cross-complaint and, if so, the names of cross-

19   defendants and the date by which the cross-complaint will be filed.
20           4.      IMPROPERLY NAMED DEFENDANT(S): If the complaint names the wrong person

21   or entity, please explain why the named defendant is improperly named and the proposed procedure to

22   correct this error.

23           5.      ADEQUACY OF PROPOSED CLASS REPRESENTATIVE(S): If any party believes

24   one or more named plaintiffs might not be an adequate class representative, including reasons of conflict

25   of interest as described in Apple Computer v. Superior Court (2005) 126 Cal.App.4th 1253, please explain.

26   No prejudice will attach to these responses.
27           6.      ESTIMATED CLASS SIZE: Please discuss and indicate the estimated class size.

28           7.      OTHER ACTIONS WITH OVERLAPPING CLASS DEFINITIONS: Please list

                                                            2
     Case 2:24-cv-10248-SPG-AJR            Document 1-1           Filed 11/26/24   Page 58 of 67 Page
                                                ID #:67


 1   other cases with overlapping class definitions. Please identify the court, the short caption title, the docket

 2   number, and the case status.

 3          8.      POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION

 4   WAIVER CLAUSES: Please state whether arbitration is an issue in this case and attach a sample of any

 5   relevant clause of this sort. Opposing parties must summarize their views on this issue.

 6          9.      POTENTIAL EARLY CRUCIAL MOTIONS: Opposing counsel should identify and

 7   describe the significant core issues in the case, and then identify efficient ways to resolve those issues,

 8   including one or more of the following:

 9      •   Motion to Compel Arbitration,

10      •   Early motions in limine,

11      •   Early motions about particular jury instructions and verdict forms,

12      •   Demurrers,

13      •   Motions to strike,

14      •   Motions for judgment on the pleadings, and

15      •   Motions for summary judgment and summary adjudication.

16          10.     CLASS CONTACT INFORMATION: Counsel should discuss whether obtaining class

17   contact information from defendant’ s records is necessary in this case and, if so, whether the parties

18   consent to an “opt-out” notice process (as approved in Belaire-West Landscape, Inc. v. Superior Court

19   (2007) 149 Cal.App.4th 554, 561). Counsel should address timing and procedure, including allocation of
20   cost and the necessity of a third party administrator.

21          11.     PROTECTIVE ORDERS:                 Parties considering an order to protect confidential

22   information from general disclosure should begin with the model protective orders found on the Los

23   Angeles Superior Court Website under “Civil Tools for Litigators.”

24          12.     DISCOVERY: Discovery is stayed until further order of the Court. Please discuss a

25   discovery plan. If the parties cannot agree on a plan, summarize each side’s views on discovery. The

26   court generally allows discovery on matters relevant to class certification, which (depending on
27   circumstances) may include factual issues also touching the merits. The Court generally does not permit

28   extensive or expensive discovery relevant only to the merits (for example, detailed damages discovery) at

                                                              3
     Case 2:24-cv-10248-SPG-AJR             Document 1-1       Filed 11/26/24     Page 59 of 67 Page
                                                 ID #:68


 1   the initial stage unless a persuasive showing establishes early need. If any party seeks discovery from

 2   absent class members, please estimate how many, and also state the kind of discovery you propose. See

 3   California Rule of Court, Rule 3.768

 4          13.     INSURANCE COVERAGE: Please state if (1) there is insurance for indemnity or

 5   reimbursement, and (2) whether there are any insurance coverage issues which might affect settlement.

 6          14.     ALTERNATIVE DISPUTE RESOLUTION: Please discuss ADR and state each party’s

 7   position about it. If pertinent, how can the court help identify the correct neutral and prepare the case for

 8   a successful settlement negotiation?

 9          15.     TIMELINE FOR CASE MANAGEMENT: Please recommend dates and times for the

10   following:

11      •   The next status conference,

12      •   A schedule for alternative dispute resolution, if it is relevant,

13      •   A filing deadline for the motion for class certification, and

14      •   Filing deadlines and descriptions for other anticipated non-discovery motions.

15          16.     REMINDER WHEN SEEKING TO DISMISS:

16          “A dismissal of an entire class action, or of any party or cause of action in a class action, requires

17          court approval. . . Requests for dismissal must be accompanied by a declaration setting forth the

18          facts on which the party relies. The declaration must clearly state whether consideration, direct or

19          indirect, is being given for the dismissal and must describe the consideration in detail.” California
20          Rule of Court, Rule 3.770.

21          If the parties settle the class action, that too will require judicial approval based on a noticed

22   motion.

23          17.     REMINDER WHEN SEEKING APPROVAL OF A SETTLEMENT:

24          Plaintiff(s) must address the issue of any fee splitting agreement in their motion for preliminary

25   approval and demonstrate compliance with California Rule of Court 3.769, and the Rules of Professional

26   Conduct 2-200(a) as required by Mark v. Spencer (2008) 166 Cal.App. 4th 219.
27          18.     NOTICE OF THE INITIAL STATUS CONFERENCE ORDER:

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     Case 2:24-cv-10248-SPG-AJR           Document 1-1        Filed 11/26/24     Page 60 of 67 Page
                                               ID #:69


 1          Plaintiff’s counsel shall serve this Initial Status Conference Order on all defense counsel, or if

 2   counsel is not known, on each defendant and file a Proof of Service with the court within seven (7) days

 3   of the date of this Order. If the Complaint has not been served as of the date of this Order, plaintiff(s)

 4   must serve the Complaint, along with a copy of this Order, within five (5) days of the date of this Order.

 5   Once served, each as yet non-appearing defendant shall file a Notice of Appearance (identifying counsel

 6   by name, firm name, address, email address, telephone number and fax number). The filing of a Notice

 7   of Appearance is without prejudice to (a) any jurisdictional, substantive or procedural challenge to the

 8   Complaint, (b) any affirmative defense, and (c) the filing of any cross-complaint in this action.

 9          19.     e-Service Provider

10          The parties should refer to the Court’s website for the list of e-service providers which are

11   approved for complex cases. The parties must sign up with the provider at least ten court days in advance

12   of the Initial Status Conference and advise the Court, via email to sscdept1@lacourt.org, which provider

13   was selected. While the parties are free to choose any approved service, Department 1 prefers Case

14   Anywhere.

15

16          Dated: November 19, 2024

17                                                 ________________________________
                                                    Honorable Stuart M. Rice
18                                                  Judge of the Los Angeles Superior Court
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Case 2:24-cv-10248-SPG-AJR           Document 1-1         Filed 11/26/24     Page 61 of 67 Page
                                          ID #:70
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                          Civil Division
                    Central District, Spring Street Courthouse, Department 1

24STCV27893                                                                    November 19, 2024
ABRAHAM MOHAMED vs THE HERSHEY COMPANY                                                11:04 AM


Judge: Honorable Stuart M. Rice                    CSR: None
Judicial Assistant: L. Ennis                       ERM: None
Courtroom Assistant: R. Sims                       Deputy Sheriff: None

APPEARANCES:
For Plaintiff(s): No Appearances
For Defendant(s): No Appearances




NATURE OF PROCEEDINGS: Court Order Scheduling Initial Status Conference

By this order, the Court determines this case to be Complex according to Rule 3.400 of the
California Rules of Court. The Clerk’s Office has assigned this case to this department for all
purposes.

Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
thousand dollars ($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
fee of one thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
All such fees are ordered to be paid to Los Angeles Superior Court, within ten (10) days of
service of this order.

By this order, the Court stays the case, except for service of the Summons and Complaint. The
stay continues at least until the Initial Status Conference. Initial Status Conference is set for
02/13/2025 at 09:00 AM in this department. At least ten (10) days prior to the Initial Status
Conference, counsel for all parties must discuss the issues set forth in the Initial Status
Conference Order issued this date. Counsel must file a Joint Initial Status Conference Response
Statement five (5) court days before the Initial Status Conference.

The Initial Status Conference Order, served concurrently with this Minute Order, is to help the
Court and the parties manage this complex case by developing an orderly schedule for briefing,
discovery, and court hearings. The parties are informally encouraged to exchange documents and
information as may be useful for case evaluation.

Responsive pleadings shall not be filed until further Order of the Court. Parties must file a Notice
of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
Appearance shall not constitute a waiver of any substantive or procedural challenge to the
                                           Minute Order                                 Page 1 of 3
Case 2:24-cv-10248-SPG-AJR            Document 1-1        Filed 11/26/24      Page 62 of 67 Page
                                           ID #:71
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                     Central District, Spring Street Courthouse, Department 1

24STCV27893                                                                      November 19, 2024
ABRAHAM MOHAMED vs THE HERSHEY COMPANY                                                  11:04 AM


Judge: Honorable Stuart M. Rice                     CSR: None
Judicial Assistant: L. Ennis                        ERM: None
Courtroom Assistant: R. Sims                        Deputy Sheriff: None

Complaint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
Code of Civil Procedure Section 170.6. Nothing in this order stays the filing of an Amended
Complaint pursuant to Labor Code Section 2699.3(a)(2)(C) by a plaintiff wishing to add a
Private Attorney General Act (“PAGA”) claim.

For information on electronic filing in the Complex Courts, please refer to
https://www.lacourt.org/division/efiling/efiling2.aspx#civil. See, in particular, the link therein for
“Complex Civil efiling.” Parties shall file all documents in conformity with the Presiding Judge’s
First Amended General Order of May 3, 2019, particularly including the provisions therein
requiring Bookmarking with links to primary documents and citations; that Order is available on
the Court’s website at the link shown above.

For efficiency in communication with counsel, the complex program requires the parties in every
new case to use an approved third-party cloud service that provides an electronic message board.
In order to facilitate communication with counsel prior to the Initial Status Conference, the
parties must sign-up with the e-service provider at least ten (10) court days in advance of the
Initial Status Conference and advise the Court which provider was selected.

The court has implemented LACourtConnect to allow attorneys, self-represented litigants and
parties to make audio or video appearances in Los Angeles County courtrooms.
LACourtConnect technology provides a secure, safe and convenient way to attend hearings
remotely. A key element of the Court’s Access LACourt YOUR WAY program to provide
services and access to justice, LACourtConnect is intended to enhance social distancing and
change the traditional in-person courtroom appearance model. See
https://my.lacourt.org/laccwelcome for more information.

This Complex Courtroom does not use Los Angeles Superior Court’s Court Reservation (“CRS”)
portal to reserve motion hearing dates. Rather, counsel may secure dates by calling the
Courtroom Assistant at 213-310-70xx with the “xx” being the Department number, e.g. Dept. 1
is 01 and Dept. 10 is 10.

Court reporters are not provided for hearings or trials. The parties should make their own
arrangements for any hearing where a transcript is desired.

If you believe a party or witness will need an interpreter, see the court’s website for information
on how to make such a request in a timely manner. https://www.lacourt.org/irud/UI/index.aspx

Counsel are directed to access the following link for further information on procedures in the
                                          Minute Order                                Page 2 of 3
Case 2:24-cv-10248-SPG-AJR            Document 1-1       Filed 11/26/24     Page 63 of 67 Page
                                           ID #:72
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                     Central District, Spring Street Courthouse, Department 1

24STCV27893                                                                     November 19, 2024
ABRAHAM MOHAMED vs THE HERSHEY COMPANY                                                 11:04 AM


Judge: Honorable Stuart M. Rice                   CSR: None
Judicial Assistant: L. Ennis                      ERM: None
Courtroom Assistant: R. Sims                      Deputy Sheriff: None

Complex litigation Program courtrooms: https://www.lacourt.org/division/civil/CI0042.aspx.

The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
Order on all parties forthwith and file a Proof of Service in this department within seven (7) days
of service.

Certificate of Mailing is attached.




                                          Minute Order                                 Page 3 of 3
   Case 2:24-cv-10248-SPG-AJR             Document 1-1        Filed 11/26/24      Page 64 of 67 Page
                                               ID #:73
                                                                                   Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Spring Street Courthouse
312 North Spring Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Abraham Mohamed
DEFENDANT/RESPONDENT:
The Hershey Company
                                                                             CASE NUMBER:
                        CERTIFICATE OF MAILING                               24STCV27893

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Court Order Scheduling Initial
Status Conference) of 11/19/2024, Initial Status Conference Order upon each party or counsel named
below by placing the document for collection and mailing so as to cause it to be deposited in the United
States mail at the courthouse in Los Angeles, California, one copy of the original filed/entered herein in a
separate sealed envelope to each address as shown below with the postage thereon fully prepaid, in
accordance with standard court practices.




    Paul D. Stevens
    Stevens, LC
    1855 Industrial Street
    Suite 518
    Los Angeles, CA 90021




                                                      David W. Slayton, Executive Officer / Clerk of Court
Dated: 11/19/2024                                     By:   L. Ennis
                                                            Deputy Clerk




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 0020o23134ÿ9889ÿÿ. 7qÿÿ8ÿr 9ÿ,97qÿv87ÿ88ÿ 99 9+ÿÿ''x'{xw*wp!ÿv87ÿ88
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 9 9ÿ 89$ÿ'*xw)xw*wpÿ9 9ÿ8$ÿ'***ÿ9 9ÿ8ÿ 9$ÿ
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78894*##:::;<36=>?8;=?@#63454>AA3?B#>C#9=9>913450>AA3?B;349D                                             )#)
